Case 2:14-md-02592-EEF-MBN Document 5641-8 Filed 03/03/17 Page 1 of 49
  Case 2:14-md-02592-EEF-MBN Document 5641-8 Filed 03/03/17 Page 2 of 49




                         Expert Report of Cindy A. Leissinger, M.D.

          In Re: Xarelto (Rivaroxaban) Products Liability Litigation (MDL-2592)



   I.      Background & Qualifications

I graduated from Tulane University Medical School in 1979 and then trained in internal medicine
from 1979 until 1981. From 1981 until 1984 I was a fellow in hematology at the NIH, Bethesda,
Maryland where I received specialized training in disorders of hemostasis. From 1984 through
1987, I worked as a primary care physician in St Martinville, LA. In January, 1988 I returned to
Tulane University to train as a fellow in the hematology/oncology fellowship program. Upon
completion of my training, on January 1, 1990, I accepted a faculty position in
hematology/oncology at Tulane University where I have been ever since.

My area of specialization since starting my faculty position has been disorders of hemostasis and
thrombosis. Since 1992 I have been the director of the Louisiana Comprehensive Hemophilia
Care Center, and since 2003 the director of the Louisiana Center for Bleeding and Clotting
Disorders. I am a member of the American Society of Hematology, the International Society on
Thrombosis and Haemostasis and the Hemostasis and Thrombosis Research Society of North
America.

Through the years I have cared for many patients with thromboembolic disorders. Because of the
specialization of my practice, I see patients with complex thrombotic disorders and patients who
are difficult to treat, who have complicated medical histories or who have failed conventional
therapy. I have extensive experience in managing patients with all classes of anticoagulant drugs,
and I deal with patients who must be anticoagulated in the face of complex underlying medical
problems. I care for patients who are limited in their anticoagulant choices due to a wide variety
of reasons. Many of my patients are managed with warfarin that is controlled with the use of a
home monitoring system. In addition, I have patients on long term out-patient use of parenteral
anticoagulants such as low molecular weight heparins and fondaparinux. In recent years I have
incorporated novel oral anticoagulants (NOACs) into my practice for patients that are good risk
candidates for this class of drugs.

   II.     Methodology

In forming my opinions set forth herein, I have reviewed various published articles, internal
documents, product labeling, and regulatory documents, among others; a complete listing of
these materials is contained throughout this report and Appendix A attached to this report. In
addition, I also relied on my background/education/training/clinical experience, and applied the
same method of review and analysis as I use in my clinical/academic practice.




                                                1
    Case 2:14-md-02592-EEF-MBN Document 5641-8 Filed 03/03/17 Page 3 of 49




My curriculum vitae (Appendix B). I have no prior testimony as an expert witness for the past
four years, and my fee schedule for this litigation is $1,000.00 per hour.

    III.   Summary of Opinions

The following opinions, and those expressed throughout the report, are stated to a reasonable
degree of medical certainty. I reserve the right to supplement my opinions as further information
becomes available.

    1. Anticoagulants effectively reduce the risk of thromboembolic events, but carry
       significant bleeding risks. Bleeding is a major side effect of anticoagulant therapy, and
       therefore any means of reducing this side effect should be actively and aggressively
       pursued.
    2. Xarelto has a narrow therapeutic index in that the difference between the amount of
       Xarelto necessary to properly anticoagulate, and the amount which would put a patient at
       increased risk of bleeding is small.
    3. Xarelto is a highly variable drug with respect to pharmacokinetic and pharmcodynamic
       parameters.
    4. Increasing exposure to Xarelto results in increasing bleed risk.
    5. Due to the combination of Xarelto exhibiting high inter-patient variability and a narrow
       therapeutic index, patient safety could be improved through therapeutic drug monitoring.
    6. The prothrombin time (PT) laboratory test, with the appropriate reagent, is a useful and
       readily available test for identifying Xarelto-treated patients at the highest risk of
       experiencing a major bleeding event.
    7. Xarelto appears to have the highest bleeding risk and has the highest inter-patient
       variability of all NOACs. Xarelto, unlike other NOACs, was not superior to warfarin in
       the randomized clinical trials involving atrial fibrillation patients.
    8. Although Xarelto and warfarin had similar major bleed rates in ROCKET (3.6%
       compared with 3.4%), it is important to acknowledge that warfarin effect can be rapidly
       and effectively reversed in bleeding patients but Xarelto effect cannot.
    9. The INR management of warfarin patients in ROCKET was conducted with a faulty
       device, thereby undermining the reliability of ROCKET, and likely underestimating the
       difference in bleeding rates between warfarin and Xarelto.
    10. The Xarelto label is inadequate in the following ways:
           a. Unlike that of warfarin (Coumadin), it does not have a black box warning
              regarding the risk of major and fatal bleeding, thus suggesting to patients and
              physicians that Xarelto is safer than warfarin (Coumadin).
           b. It fails to present the variability data (e.g., 5-95th percentiles) for pharmacokinetic
              and pharmacodynamic measurements. A prescribing physician should be aware of

                                                 2

    Case 2:14-md-02592-EEF-MBN Document 5641-8 Filed 03/03/17 Page 4 of 49




                the high inter-patient variability, and the variable bleeding risks among patients
                on Xarelto.
             c. It fails to identify the prothrombin time (PT) laboratory test, with the appropriate
                reagent, as a useful and readily available test for identifying Xarelto-treated
                patients at high risk of experiencing a major bleeding event.
                Prior to September 2015, the label failed to properly inform physicians of the
                increased bleeding risk seen in U.S. patients on the registration trial for atrial
                fibrillation.

    IV.      Overview of Xarelto (Rivaroxaban)

Xarelto was developed and manufactured by Bayer, and is marketed in the United States through
a joint partnership between Bayer and Janssen. It acts as a direct inhibitor of Factor-Xa and is a
member of the class commonly referred to as the new oral anticoagulants (NOACs), comprised
of Xarelto, Pradaxa (dabigatran), Eliquis (apixaban), and Savaysa (edoxaban), which were
developed to offer an alternative to warfarin, the gold standard in oral anticoagulation. Baed
upon submission by Janssen and Bayer, the Food and Drug Administration (FDA) approved
Xarelto for three indications: 1) the prophylaxis of deep vein thrombosis (DVT) and pulmonary
embolism (PE) in patients undergoing hip or knee replacement surgeries (approved July 1,
2011); 2) to reduce the risk of stroke and systemic embolism in patients with non-valvular atrial
fibrillation (approved November 4, 2011); and 3) the treatment of DVT and/or PE and the
reduction in recurrence of DVT and/or PE (approved November 2, 2012). Xarelto is available in
doses of 20mg, 15mg, and 10mg.

This report will focus mainly on the atrial fibrillation indication, which relied on the pivotal
Phase III clinical trial, Rivaroxaban Once Daily Oral Direct Factor Xa Inhibition Compared with
Vitamin K Antagonism for Prevention of Stroke and Embolism Trial in Atrial Fibrillation
(ROCKET AF). The ROCKET trial’s design and outcomes, along with its flaws, are discussed in
greater detail in the expert reports of Drs. Henry Bussey and Bud Gerstman. The ROCKET trial
found that Xarelto was non-inferior to warfarin for the prevention of stroke and systemic
embolism in patients with non-valvular atrial fibrillation, with similar rates of major bleeding
and non-clinically significant major bleeding. 1 (Patel, M.R. et al., Rivaroxaban versus Warfarin
in Nonvalvular Atrial Fibrillation. N.Engl.J.Med. 2011;365:883-91.).

The indication for DVT/PE prophylaxis following hip/knee surgery was based on a series of
Phase 3 clinical trials known as the Regulation of Coagulation in Orthopedic Surgery to Prevent
Deep Venous Thrombosis and Pulmonary Embolism studies (hereinafter referred to as the

1
  This primary safety endpoint was defined as follows: “Major bleeding was defined as clinically overt bleeding
associated with any of the following: fatal outcome, involvement of a critical anatomic site (intracranial, spinal,
ocular, pericardial, articular, retroperitoneal, or intramuscular with compartment syndrome), fall in hemoglobin
concentration >2 g/dL, transfusion of >2 units of whole blood or packed red blood cells, or permanent
disability…Non-major clinically relevant bleeding was defined as overt bleeding not meeting criteria for major
bleeding but requiring medical intervention, unscheduled contact (visit or telephone) with a physician, temporary
interruption of study drug (i.e., delayed dosing), pain, or impairment of daily activities.” (Patel, et al. 2011,
Supplementary Appendix p. 12).


                                                          3
   Case 2:14-md-02592-EEF-MBN Document 5641-8 Filed 03/03/17 Page 5 of 49




“RECORD” studies). The results of the RECORD studies found Xarelto to be superior to
enoxaparin for thromboprophylaxis after total knee and hip arthroplasty, with similar rates of
bleeding, as measured by the pre-determined criteria for bleeding outcomes. (Lassen, M.R., et al.
Rivaroxaban versus Enoxaparin for Thromboprophylaxis after Total Knee Arthroplasty.
N.Engl.J.Med. 2008;358:2776-86; Kakkar, A.K., et al. Extended duration rivaroxaban versus
short-term enoxaparin for the prevention of venous thromboembolism after total hip
arthroplasty: a double-blind, randomised controlled trial. Lancet 2008;372:31-39; Ericksson,
B.I., et al. Rivaroxaban versus Enoxaparin for Thromboprophylaxis after Hip Arthroplasty.
N.Engl.J.Med. 2008;358:2765-75.)

Approval of Xarelto for the treatment of DVT/PE was based on the EINSTEIN series of Phase 3
clinical trials including the EINSTEIN-DVT, EINSTEIN-PE, and EINSTEIN-Extension studies.
(The EINSTEIN Investigators. Oral Rivaroxaban for Symptomatic Venous Thromboembolism.
N.Engl.J.Med. 2010;363:2499-510; The EINSTEIN-PE Investigators. Oral Rivaroxaban for the
Treatment of Symptomatic Pulmonary Embolism. N.Engl.J.Med. 2012;366:1287-97).

   V.      Therapeutic Drug Monitoring

Anticoagulants effectively reduce the risk of embolic events, but have a relatively high rate of
complications compared to other commonly used drugs. Major bleeding is a clinically
significant, unwanted effect of anticoagulants. Any means of reducing this side effect without
diminishing the anti-thrombotic properties of anticoagulants should be actively and aggressively
pursued.

In the pivotal clinical trial for the atrial fibrillation indication, for every 100 patient years on
rivaroxaban, there were 14.9 major or non-major clinically relevant bleeding events. (Patel
2011). In the US, the prevalence of atrial fibrillation was estimated at 5 million in 2010 and is
projected to grow to 12 million by 2030 as the population ages. (Colilla, S., et al. Estimates of
Current and Future Incidence and Prevalence of Atrial Fibrillation in the US Adult Population.
Am.J.Card. 2013;112:1142-47.). Thus, for every one million patients on Xarelto for atrial
fibrillation, approximately 150,000 persons per year will have a clinically relevant bleeding
event. On a global scale, and over multiple years, more than a million patients will experience a
clinically relevant bleeding event as a direct result of their use of this medication. Considering
these numbers, it would be prudent to develop and standardize a test that can measure the drug
level of Xarelto in a patient’s blood, or a surrogate blood test that can assess the degree of
anticoagulation with Xarelto use; such testing would identify those patients who are at the
highest risk of bleeding and would allow for additional patient counseling, discontinuation,
alternative therapies, or adjustment in the Xarelto dose to reduce bleeding events. Accordingly,
global regulators and clinicians are currently investigating this improvement to patient safety.
The underlying basis for this opinion is founded on a number of factors, as described in detail
below.

   A. Narrow Therapeutic Index

The therapeutic window (or index) for a drug is the range of doses that gives a good therapeutic
response without causing any meaningful side effects in patients. Drugs with a narrow
therapeutic window are inherently more risky for patients since small differences in drug dosing
                                                  4
  Case 2:14-md-02592-EEF-MBN Document 5641-8 Filed 03/03/17 Page 6 of 49




or absorption can lead to serious complications. The FDA’s proposed definition of drugs with a
narrow therapeutic window includes “… drugs where small differences in dose or blood
concentration may lead to serious therapeutic failures and/or adverse drug reactions…”
[Approaches to Demonstrate Bioequivalence of Narrow Therapeutic Index Drugs, Advisory
Committee for Pharmaceutical Science and Clinical Pharmacology, July 26, 2011 at Slide 14].
In my opinion this definition characterizes oral anticoagulant drugs. Moreover this characteristic
is particularly important in anticoagulants due to the severity of outcomes experienced by too
little exposure and/or too much exposure.

For anticoagulants, the narrow range of exposure between the beneficial effect of the drug, e.g.,
preventing thrombosis and stroke, and the unwanted effect of bleeding, should necessitate careful
dose selection to achieve optimal benefit/risk balance. The best way to ensure safety and assure
that a patient is within the therapeutic window is to test for the anticoagulant drug’s
concentration or effect in that patient.




[G&G 12th Edn (2011), Figure 3-6]
FIGURE V. A. 1


This opinion regarding Xarelto as a narrow therapeutic index drug is also shared by the FDA. In
its Summary Review Memorandum for the atrial fibrillation indication, the FDA declared that all
anticoagulants “are intrinsically narrow therapeutic range drugs because their principal toxicity,
bleeding, is a result of their intended pharmacodynamic activity; too low a dose results in
inadequate prevention of pathological thrombosis and consequent serious clinical events and too
high a dose results in excessive inhibition of physiologic clotting and excessive bleeding.”
(November 2011 FDA Summary Review Memorandum approving the A-fib indication; see also
XARELTO_BHCP_00305753).

The fact that Xarelto has been approved at a fixed dose reflects the pre-determined intent of the
registration clinical trial rather than a scientifically developed dose finding study. (See
XARELTO_BHCP_000015914).


                                                5
   Case 2:14-md-02592-EEF-MBN Document 5641-8 Filed 03/03/17 Page 7 of 49




The important implications of a narrow therapeutic index are enhanced when a drug also has
high variability in absorption or blood levels from patient to patient, discussed in further detail
below.

   B. Inter-patient Variability

Analysis of pharmacokinetic data from patients participating in a variety of clinical trials of
Xarelto (including ROCKET) show that there is significant inter-patient variability (TABLE V B
1). Although different Xarelto doses were used in the various studies, the data illustrates that the
high inter-patient variability noted in the ROCKET trial is also seen in the other trials which used
different Xarelto doses for other indications. Of particular interest, trough levels drawn at
approximately 24 hours (just before the next dose of a daily regimen) show a 10-fold difference
in Xarelto blood levels between the 5th and 95th percentiles. This high degree of variability was
seen in different study populations, reaffirming the drug’s high inter-patient variability at all
doses and for all indications.

These differences are also seen in the graph provided by the manufacturer in which open circles
represent the actual plasma levels of Xarelto from a subset of patients in the ROCKET trial.
[FIGURE V B 1] There was an approximate 800-fold difference between the patient with the
lowest blood level and the patient with the highest blood level at the 24 hour time point after
drug ingestion. (Mueck, W., et al. Clinical Pharmacokinetic and Pharmacodynamic Profile of
Rivaroxaban. Clin.Pharmacokinet. 2014;53:1-16; XARELTO_BPAG_00006581). Thus there
was extreme variability noted in the blood levels (i.e., plasma concentration) of Xarelto in the
patients who were studied.




TABLE V.B.1 [Mueck 2014]



                                                  6
   Case 2:14-md-02592-EEF-MBN Document 5641-8 Filed 03/03/17 Page 8 of 49




FIGURE V.B.1 [XARELTO_BPAG_00006581 at p. 28]


As demonstrated in the table and figure above, the patients falling in the highest 5% have trough
Xarelto levels higher than the median trough level; it is very likely that these levels increase the
bleeding risk in this group of patients. This is additionally concerning since Xarelto, unlike
warfarin, has no rapidly available reversal agent for patients who experience critical bleeding.

This inter-patient variability information is not provided in the product label, despite the fact that
patients who fall at the extreme ranges of Xarelto blood levels will be at increased risk for
adverse events.

A logical assumption from looking at this data is that 24 hours after a group of patients is given a
fixed daily dose of Xarelto, a significant portion of patients will have very low blood levels of
drug with an increased risk of clotting compared to the rest of the group, and a significant portion
of patients will have high blood levels of drug with an increased risk of bleeding when compared
to the rest of the group.

Xarelto also appears to have the highest inter-patient variability of all the NOACs. (See
Ezekowitz, M.D. et al. Am.J.Cardiol 2007;100:1419; Mueck, W., et al. Clin.Pharmacokinet.
2014;53:1-16; Kowalski, et al. J.Pharmacokinet.Pharmacodyn. 2014;41(suppl.1):S19; Weitz, et
al. Thromb.Haemost 2010;104:633).

   C. Dose-Response

It is widely understood and biologically expected that higher anticoagulant blood levels lead to a
greater bleeding risk, and lower anticoagulant blood levels lead to a greater clotting risk. The
figures below demonstrate the thrombosis and bleeding risk curves compared to the trough drug
levels for three (3) currently available oral anticoagulants, warfarin, edoxaban and dabigatran.
Each drug’s therapeutic window is found around the area where these 2 risks cross. As noted


                                                  7
   Case 2:14-md-02592-EEF-MBN Document 5641-8 Filed 03/03/17 Page 9 of 49




earlier, all three classes of oral anticoagulant drugs (i.e., warfarin, anti-Xa inhibitors and anti-
thrombin inhibitors) by their very nature will have similar profiles as noted in the figures.




FIGURE V.C.1




FIGURE V.C.2 [Earp, J.C. Edoxaban Dosing Considerations Based on Renal Function, Oct. 30,
2014, Slide 32]




                                                   8
  Case 2:14-md-02592-EEF-MBN Document 5641-8 Filed 03/03/17 Page 10 of 49




FIGURE V.C.3 [Reilly 2014]


Although the dose (i.e., exposure) response curves have not been published for Xarelto we would
expect Xarelto to be similar to other oral anticoagulants noted in these figures. Per Jansen
internal emails, the exposure-response curves for edoxaban and dabigatran are “pretty similar”
and the curves for Xarelto are “probably similar as well.” (XARELTO_JANSSEN _18580558).

Due to the critical nature of the therapeutic window, and the inability to measure Xarelto blood
levels in clinical practice, there is an urgent need for the manufacturer to identify a surrogate
blood test that can assess anticoagulant activity in order to identify patients who are on the
extremes of the dose-response curves. In particular, given the large numbers of patients likely to
be in the elevated range of Xarelto plasma concentration and thus at high risk for bleeding (see
FIGURE V.B.1), it is crucial to identify an assay that will identify these at-risk patients.



                                                9
    Case 2:14-md-02592-EEF-MBN Document 5641-8 Filed 03/03/17 Page 11 of 49




     D. Measuring Anticoagulant Activity

For decades warfarin effect has been measured using a universally available laboratory test
known as the prothrombin time (PT), which measures the time needed for a sample of blood to
clot. Assays that measure the blood levels of warfarin are not readily available, but since the PT
test has been proven to correlate with warfarin effect in the blood, the PT is the universally
accepted method for measuring warfarin’s effect. Notably, PT results are standardized and
expressed as an INR (ie, international normalized ratio, a way of harmonizing PT results
obtained in different labs using different reagents). High INR levels are particularly helpful in
predicting patients who are at risk of bleeding. There is a direct correlation between the INR
level and the risk of bleeding as shown in the FIGURE V.C.1. For the clinician, this ability to
measure anticoagulant effect allows for dose adjustments and/or partial reversal of warfarin to
prevent bleeding.

Sufficient information exists to show that PT testing is useful for assessing the anticoagulant
effect of Xarelto. Studies have shown that there is a linear correlation between Xarelto blood
levels and prothrombin time when the prothrombin time test is performed with a specific reagent
(Neoplastin Plus). 2 In fact the FDA created the figure below in their review of the ROCKET
trial:




FIGURE V.D.1
[FDA Briefing Document for the Cardiovascular and Renal Drugs Advisory Committee
(CRDAC), dated 8 September 2011, Clinical Review, p. 37]




2
 A similar relationship between Factor Xa levels and Xarelto plasma concentration was also observed. See FDA
Advisory Committee Briefing Document, Clinical Review, Figure 5, p.37; Douxfils J, et al. Assessment of the
impact of rivaroxaban on coagulation assays: Laboratory recommendations for the monitoring of rivaroxaban and
review of the literature. Thromb Res (2012), http://dx.doi.org/10.1016/j.thromres.2012.09.004, at p. 3 and 4.

                                                     10
  Case 2:14-md-02592-EEF-MBN Document 5641-8 Filed 03/03/17 Page 12 of 49




Though PT is readily available, the relationship between PT and Xarelto plasma concentration
observed in the figure above, is reagent-dependent. See figure below.




[Douxfils, J., et al. Assessment of the impact of rivaroxaban on coagulation assays: Laboratory
recommendations for the monitoring of rivaroxaban and review of the literature. Thromb.Res.
(2012), http://dx.doi.org/10.1016/j.thromres.2012.09.004]


Moreover, a document created by Janssen reported the following: “If assessment of rivaroxaban
plasma concentrations is necessary in individual patients, the prothrombin time (PT) was
reported to be an appropriate coagulation test. The relationship between PT and rivaroxaban
plasma concentration when Neoplastin® Plus, STA Neoplastin®, or Innovin® is used as the

                                               11
  Case 2:14-md-02592-EEF-MBN Document 5641-8 Filed 03/03/17 Page 13 of 49




reagent is linear and closely correlated. The pharmacodynamics effects of rivaroxaban as
measured by the PT are strongly affected by the type of PT reagent that is used.’
[XARELTO_JANSSEN_24478012, p. 1]

As noted earlier in this report, with the extensive use of Xarelto, a large number of patients are
expected to have bleeding complications leading to excess morbidity and mortality. It would be
critically important to identify those patients at greatest risk for bleeding. The results noted
above suggest that the PT assay when done using a specific reagent, correlates linearly with
Xarelto blood levels, and is therefore likely to be able to identify those patients at the highest risk
of bleeding.

Analyses published in the FDA briefing document showed that higher PT times (indicating
higher blood levels of Xarelto) did not offer greater protection against clotting, but did correlate
with greater bleeding risks (FIGURES V.D.3 and V.D.4).




FIGURE V.D.3
[FDA Briefing Document for the September 2011 Advisory Committee Meeting discussing
approvability of the Xarelto A-fib indication, p. 39]




                                                  12
    Case 2:14-md-02592-EEF-MBN Document 5641-8 Filed 03/03/17 Page 14 of 49




FIGURE V.D.4
[FDA Briefing Document for the September 2011 Advisory Committee Meeting discussing
approvability of the Xarelto A-fib indication, p. 40.]


Based on the above 2 figures, it is clear that the risk of major bleeding increases as the PT
increases without any additional benefit in prevention of strokes. 3 Internal manufaturer’s
documents [XARELTO_JANSSEN_01207639] acknowledge that “scientifically, [] there is no
dose response curve for efficacy…there is a dose response curve on bleeding”.)

Understanding that the PT levels correlate closely with Xarelto blood levels, I can conclude that
increasing exposure to Xarelto does not lead to additional benefit in preventing strokes but does
lead to an increasing risk of bleeding, and that the PT when performed using the proper reagents
may be able to discriminate those patients most at risk.

As noted in the summary of the FDA’s review for the atrial fibrillation indication, “there is a
linear correlation between rivaroxaban levels and [PT]…there is also a correlation between PT
and risk of bleeding.” The FDA points out that the company “has not chosen to utilize this
information.” The FDA reviewer states that “infrequent monitoring…to assure appropriate
dosing of drugs that prevent stroke and cause bleeding may improve outcomes and be acceptable
to patients.” (See FDA Summary Review). 4 Given the potential harm associated with bleeding
and the evidence showing that a routine blood test may be easily adapted to determine which
patients are at highest risk of bleeding, the responsible action on the part of the manufacturer
would have been to identify this test as a clinical tool.

Interestingly, the manufacturer of another NOAC with a similar benefit/risk profile to Xarelto,
similar pharmacokinetic/pharmacodynamic profile, and similar inter- and intra-patient

3
 A similar relationship between Factor Xa levels and major bleeding was also observed. See FDA Advisory
Committee Briefing Document, Clinical Pharmacology Review, Figure 14, p. 40.



                                                      13
  Case 2:14-md-02592-EEF-MBN Document 5641-8 Filed 03/03/17 Page 15 of 49




variability, conducted internal analyses that indicated that a one-time blood test and dose-
adjustment could maintain efficacy but decrease bleeding events by 40%. (See Cohen 2014.
Dabigatran: how the drug company withheld important analyses. BMJ). It appears that the
above finding prompted current investigations by regulators into the potential for therapeutic
drug monitorin with NOACs.

   VI.     Concerns About the Validity of ROCKET Results

There are additional concerns about the safety profile of Xarelto for atrial fibrillation due to
quality control problems with the warfarin arm of the study. Specifically, the quality of warfarin
management in ROCKET was substandard.

Time in Therapeutic Range (“TTR”) is defined as a means of summarizing a warfarin patient’s
INR control over time. TTR is used to manage warfarin patients because higher TTR is
associated with better outcomes (i.e., fewer strokes and bleeds). The therapeutic range for INR of
atrial fibrillation patients on warfarin is universally accepted to be 2-3. An INR greater than 4
necessitates a dose reduction in a warfarin treated patient.

The TTR in ROCKET was 55%, meaning that patients assigned to the warfarin arm were only in
therapeutic range 55% of the time. Notably, at just 55%, ROCKET had the lowest TTR for any
Phase III trial that compared a NOAC to warfarin. The degree of poor INR control in ROCKET
potentially biased the overall results in favor of Xarelto. (See Power Point presentation by Dr.
Martin Rose (FDA), dated 9.8.2011). In fact, the FDA noted in its Summary Review
memorandum that the two primary clinical reviewers (Drs. Dunnmon and Rose) recommended
against approval of Xarelto for the atrial fibrillation indication based in part on the low TTR in
ROCKET. Due to poor warfarin management, the FDA required the manufacturer to include the
following language in the Xarelto label: “There is insufficient experience to determine how
XARELTO and warfarin compare when warfarin therapy is well-controlled.”

Further, the warfarin management in ROCKET has recently been further called into question due
to an issue with the point-of-care (POC) device used to measure the INRs of warfarin patients
during the trial. The double-blind design of the ROCKET study called for a common POC device
to manage the warfarin patients’ INR. The POC at issue was altered so as to generate a seven
digit code instead of the true INR, as rivaroxaban does not influence INR in the same way as
warfarin.

Importantly, the POC device used to manage the warfarin patients in ROCKET is now subject to
a Class I FDA recall due to underreporting true INR readings. Further, a comparison of lab
values and POC values in the warfarin patients revealed that approximately 30% of patients
whose lab INR values were greater than 4, and thus outside the therapeutic range of 2-3, were
misclassified by the recalled POC device as being sub-therapeutic, which would signal a dose
increase, or as therapeutic, which would not signal a dose decrease. (See EMA CHMP
Assessment Report 2.5.2016; Cohen, D., Rivaroxaban: can we trust the evidence? B.M.J.
2016;352:i575; Patel, M.R., et al. Point-of-Care Warfarin Monitoring in the ROCKET AF Trial.
2016 N.Engl.J.Med. 374;785-88. (DCRI Re-Analysis)); FDA CDER ROCKET AF Reanalysis
Reviews (Clinical Review; Statistical Review; Clinical Pharmacology Review), NDA 202439.


                                                14
  Case 2:14-md-02592-EEF-MBN Document 5641-8 Filed 03/03/17 Page 16 of 49




These important and compelling findings call into question the reliability of ROCKET. Because
true INR readings were under-reported, it seems likely that bleed rates (which strongly correlate
with INR levels) on the warfarin arm were higher than we would expect if the INR levels were
reported accurately.

As shown in TABLE VI. 1 below, approximately one third of patients on the warfarin arm in
ROCKET had higher INRs than what was indicated by their POC instrument; for example, over
500 patients had a true INR > 4 that was unrecognized due to POC malfunction. These patients
would not have had appropriate warfarin adjustments and they would have been more likely to
have excess bleeding events. Had these patients been appropriately managed it is likely that there
would have been fewer bleeding events on the warfarin arm, and that the Xarelto arm would
have had a higher bleeding rate by comparison. These observations call into question that
Xarelto was non-inferior to warfarin in bleeding rates.




TABLE VI. 1


   VII.    US Only Data

Separate analysis of outcome data on US patients (N=1,926) enrolled in ROCKET was
performed by the FDA. In this group of patients, there was a 28% increased risk of reaching a
safety endpoint in the Xarelto arm. This included a 50% increased risk of major bleeding, and a
61% increased risk of transfusion when compared to the warfarin arm, all of which were
statistically significant. TABLE VII.1




                                               15
  Case 2:14-md-02592-EEF-MBN Document 5641-8 Filed 03/03/17 Page 17 of 49




TABLE VII.11
(FDA Briefing Document for the September 2011 Advisory Committee Meeting discussing
approvability of the Xarelto A-fib indication, Table 99, p. 228).

Of particular note, the TTR for U.S. warfarin patients was 63%, which represents significantly
better warfarin management than in the global population (see discussion on TTR above).
Further, the incidence of major bleeding events in U.S. patients decreased as the TTR increased.

Despite these results, the U.S. label did not relay this information to prescribers until September
2015. On January 28, 2014, the FDA sent a letter to Janssen requesting a label change, including
the addition of a forest plot depicting the risk of major bleeding by geographic region.
(XARELTO_JANSSEN_00000344). Thus, the data contained in the FDA Advisory Committee
Brief from September 2011 on the risk of bleeding for U.S. patients was not added until
September 2015 although rivaroxaban has been on the market in the U.S. for the atrial
fibrillation indication since September 2011.

   VIII. Xarelto Compared to Other NOACs

In addition to Xarelto’s inferior performance with respect to bleeding when compared to
warfarin in the U.S. patients of ROCKET, there is also emerging data demonstrating potentially
inferior performance when compared to other NOACs.

In an indirect comparison of data from the published trials of the NOACs, Lip and colleagues
found that the risk of major bleeding was less with dabigatran and apixaban than with

                                                16
  Case 2:14-md-02592-EEF-MBN Document 5641-8 Filed 03/03/17 Page 18 of 49




rivaroxaban. (Lip, G., et al. Indirect Comparisons of NOACs for Efficacy and Safety When Used
for Stroke Prevention in Atrial Fibrillation. J.A.C.C. 2012;60:738-46.). In another comparative
study of the three approved NOACs, Schneeweiss and colleagues found that apixaban patients
had a lower risk of bleeding than patients taking dabigatran or rivaroxaban. (Schneeweiss, S., et
al. Comparative efficacy and safety of new oral anticoagulants in patients with atrial fibrillation.
Circ.Cardiovasc.Qual.Outcomes. 2012;5:480-86.)

In a retrospective study using a large commercial and Medicare database in the US, bleeding was
assessed in all patients 18 years and older who were prescribed one of the NOACs for non-
valvular atrial fibrillation over a 4.5 year period. While apixaban and dabigatran had less risk of
bleeding than warfarin, the risk of bleeding with rivaroxaban was the same as with warfarin.
Xarelto patients had a statistically significant 82% increased risk of major bleeding compared to
apixaban. (Yao, X, et al. Effectiveness and Safety of Dabigatran, Rivaroxaban, and Apixaban
Versus Warfarin in Nonvalvular Atrial Fibrillation. J.Am.Heart Assoc. 2016;5:e003725.

In another study, both dabigatran and apixaban had significantly lower annual rates of bleeding
and risk of death as compared to warfarin, while rivaroxaban had comparable rates for both.
(Larsen, T.B., et al. Comparative effectiveness and safety of non-vitamin K antagonist oral
anticoagulants and warfarin in patients with atrial fibrillation. B.M.J 2016;353:i3189).

In a retrospective, new user cohort study by Graham, et al., with more than 100,000 patients,
concluded that “treatment with rivaroxaban 20 mg once daily was associated with statistically
significant increases in ICH and major extracranial bleeding, including major gastrointestinal
bleeding, compared with dabigatran 150 mg twice daily.” (Graham, et al., Stroke, bleeding, and
mortality risks in elderly medicare beneficiaries treated with dabigatran or rivaroxaban for
nonvalvular atrial fibrillation, JAMA, doi:10.1001/jamainternmed.2016.5954.)

At the end of 2015, Xarelto-related serious adverse events were the highest reported among all
pharmaceutical drugs on the market, with 81% involving a hemorrhagic event, 42% requiring
hospitalization, and almost 11% resulting in patient deaths. “Xarelto accounted for 10,674
reports of fatal, disabling, and serious injury in the U.S., more than any other of the 1,395
identifiable drugs we regularly monitor in this category. For comparison, the median number of
reports per drug was 7 cases, with 25% of drugs accounting for 4 or fewer serious cases in 2015,
and 25% accounting for 103 cases or more. The rivaroxaban total also included 1,121 reported
patient deaths.” (ISMP QuarterWatch 2015Q4). The authors of that report concluded that the
“exceptionally large total” of serious adverse event reports related to Xarelto “remains a strong
signal that improving the safety of oral anticoagulant treatments should be a major priority in
drug safety.” (Id.).




                                                17
  Case 2:14-md-02592-EEF-MBN Document 5641-8 Filed 03/03/17 Page 19 of 49




   IX.     Problems with Xarelto Labeling

Based on the information detailed above and my opinions derived from such information, I
conclude that the U.S. Xarelto label is inadequate for the following reasons.

Unlike that of warfarin (Coumadin), the Xarelto label, in its initial and current state, does not
have a black box warning regarding the risk of major and fatal bleeding, The U.S. label for
warfarin has contained a black box warning regarding bleeding risk since 2007. As noted above,
the ROCKET trial demonstrated similar rates of major and non-clinically significant bleeding
with rivaroxaban and warfarin. Without the inclusion of a black box warning, the label suggests
to patients and physicians that Xarelto is safer than warfarin (Coumadin). In addition, from
November 2011 until September 2015 the Xarelto label failed to properly inform physicians of
the risk of clinically relevant bleeding for U.S. patients.

The Xarelto label also fails to present the variability data (5-95th percentiles) for pharmacokinetic
measurements discussed in detail above. A prescribing physician should be aware of the high
interpatient variability of drug levels and cognizant that some patients at the extremes of these
drug levels are at risk for adverse events.

Given the potential harm associated with bleeding and the evidence showing that a routine blood
test (PT) can determine which patients are at highest risk of bleeding, the responsible action on
the part of the manufacturers would have been to communicate the information on PT testing to
clinicians.




                                                 18
Case 2:14-md-02592-EEF-MBN Document 5641-8 Filed 03/03/17 Page 20 of 49




                         APPENDIX A
           Case 2:14-md-02592-EEF-MBN Document 5641-8 Filed 03/03/17 Page 21 of 49




                                 0DWHULDOV5HOLHG2Q5HYLHZHGDQGRU&RQVLGHUHGE\&LQG\/HLVVLQJHU0'

 $OOPDWHULDOVUHIHUHQFHGDQGRUGLVFXVVHGZLWKLQWKHUHSRUWDUHLQFRUSRUDWHG,QDGGLWLRQWRWKHPDWHULDOVVSHFLILFDOO\UHIHUHQFHGZLWKLQWKH
                              UHSRUWWKHRWKHUPDWHULDOVUHOLHGRQUHYLHZHGDQGRUFRQVLGHUHGDUHDVIROORZV

'HSRVLWLRQV
$OOGHSRVLWLRQVWDNHQLQWKHPDWWHURIJoseph J. Boudreaux, Jr., et al. v. Janssen Research & Development, LLC, et al.

3URGXFW/DEHOV
;DUHOWR/DEHO 
;DUHOWR/DEHO 
;DUHOWR/DEHO 
;DUHOWR/DEHO 
;DUHOWR/DEHO 
;DUHOWR/DEHO 

/LWHUDWXUH
$GFRFN'0 *RVVHOLQ5Direct Oral Anticoagulants (DOACs) in the Laboratory: 2015 Review 7KURPE5HV
$VPLV/0HWDORivaroxaban: Quantification by anti-FXa assay and influence on coagulation tests: a study in 9 Swiss laboratories 7KURPE5HV
$SU  
%DJOLQ7HWDOEffects of routine coagulation screens and assessment of anticoagulant intensity in patients taking oral dabigatran or rivaroxaban:
Guidance from the British Committee for Standards in Haemotology %ULWLVK-RXUQDORI+DHPRWRORJ\  
%DJOLQ7HWDOMeasuring oral direct inhibitors of thrombin and factor Xa: a recommendation from the Subcommittee on Control of
Anticoagulation of the Scientific and Standardization Committee of the International Society on Thrombosis and Haemostasis -7KURPE+DHPRV
%DUG\*HWDOIs anti-factor Xa chromogenic assay for Rivaroxaban appropriate in clinical practice? Advantages and comparative drawbacks 
7KURPERVLV5HVHDUFKDFFHSWHGPDQXVFULSW  
%ODQQ$'DQG/LS<+Laboratory Monitoring of Non-Vitamin K Oral Anticoagulants -$&&
&RQQROO\6-HWDODabigatran versus Warfarin in Patients with Atrial Fibrillation 1(QJO-0HG
&XNHU$HWDOLaboratory Measurement of the Anticoagulant Activity of the Non-Vitamin K Oral Anticoagulants -$&&
'RX[ILOV-HWDOAssessment of the impact of rivaroxaban on coagulation assays: Laboratory recommendations for the monitoring of rivaroxaban
and review of the literature 7KURPE5HV  
'RX[ILOV-HWDOComparison of calibrated chromogenic anti-Xa assay and PT tests with LC-MS/MS for the therapeutic monitoring of patients
treated with rivaroxaban 7KURPE+DHPRVW
'RX[ILOV-HWDOMeasurement of non-VKA oral anticoagulants versus classic ones: the appropriate use of hemostasis assays 7KURPERVLV-RXUQDO

            Case 2:14-md-02592-EEF-MBN Document 5641-8 Filed 03/03/17 Page 22 of 49




'RX[ILOV-HWDONon-VKA Oral Anticoagulants or NOACs: Accurate measurement of plasma drug concentrations  
*LXJOLDQR53HWDOEdoxaban versus Warfarin in Patients with Atrial Fibrillation 1(QJO-0HG
*RVVHOLQ5&HWDOHeparin-Calibrated Chromogenic Anti-Xa Activity Measurements in Patients Receiving Rivaroxaban: Can This Test Be Used to
Quantify Drug Level? $QQDOVRI3KDUPDFRWKHUDS\ 
*UDQJHU&%Apixaban versus Warfarin in Patients with Atrial Fibrillation 1(QJO-0HG
,NHGD.HWDOClinical implication of monitoring rivaroxaban and apixaban by using anti-factor Xa assay in patients with non-valvular atrial
fibrillation -$UUK\WKPLD  
.DUVW$HWDOMonitoring of rivaroxaban: suitability of a well-established chromogenic anti-factor Xa assay 3RVWHU3UHVHQWDWLRQ3302
.LWFKHQ6HWDOMeasurement of non-coumarin anticoagulants and their effects on tests of Haemostasis: Guidance from the British Committee for
Standards in Haemotology %ULWLVK-RXUQDORI+DHPRWRORJ\
.RQLJVEUXJJH2HWDOAnti-coagulation assessment with prothrombin time and anti-Xa assays in real-world patients on treatment with
rivaroxaban $QQ+HPDWRO  
/LS*+HWDOReal-world comparison of major bleeding risk among non-valvular atrial fibrillation patients initiated on apixaban, dabigatran,
rivaroxaban, or warfarin 7KURPE+DHPRVW
/LS*<+HWDOIndirect Comparisons of New Oral Anticoagulant Drugs for Efficacy and Safety When Used for Stroke Prevention in Atrial
Fibrillation -$&&
/LSSL*HWDOUrgent monitoring of direct oral anticoagulants in patients with atrial fibrillation: a tentative approach based on routine laboratory
tests -7KURP7KURPERO\VLV
1DNDQR<HWDOClinical usefulness of measuring prothrombin time and soluble fibrin levels in Japanese patients with atrial fibrillation receiving
rivaroxaban -&DUGLRO  
1ROO$Coagulation Assays and the New Oral Anticoagulants $PHULFDQ&ROOHJHRI&DUGLRORJ\  
6DPDPD00Which test to use to measure the anticoagulant effect of rivaroxaban: the anti-factor Xa assay -7KURPE+DHPRVW
6DPDPD00HWDOEvaluation of the anti-factor Xa chromogenic assay for the measurement of rivaroxaban plasma concentrations using
calibrators and controls 7KURPE+DHPRVW)HE  
6DPDPD00HWDOLaboratory assessment of rivaroxaban: a review 7KURPERVLV-RXUQDO
7ULSRGL$Which test to use to measure the anticoagulant effect of rivaroxaban: the prothrombin time test -7KURPE+DHPRVW
7ULSRGL$HWDOThe International Normalized Ratio calibrated for rivaroxaban has the potential to normalize prothrombin time results for
rivaroxaban-treated patients: results of an in vitro study -7KURPE+DHPRVW  
=KDQJ<Laboratory monitoring of rivaroxaban and assessment of its bleeding risk %ULWLVK-RXUQDORI%LRPHGLFDO6FLHQFH  

,QWHUQDO'RFXPHQWV
;$5(/72B%3$*B
;$5(/72B%3$*B
;$5(/72B-$166(1B
           Case 2:14-md-02592-EEF-MBN Document 5641-8 Filed 03/03/17 Page 23 of 49




&OLQLFDO6WXG\5HSRUWV &65V
52&.(7&65 6WXG\ LQFOXGLQJDOODSSHQGLFHV

2WKHU'RFXPHQWV
(GLWLRQ&)5
$SSURDFKHVWR'HPRQVWUDWH%LRHTXLYDOHQFHRI1DUURZ7KHUDSHXWLF,QGH['UXJV$GYLVRU\&RPPLWWHHIRU3KDUPDFHXWLFDO6FLHQFHDQG&OLQLFDO
3KDUPDFRORJ\-XO\
([SHUWUHSRUWVRI'UV%%XUW*HUVWPDQDQG-DQ5RVLQJLQWKLVPDWWHU
0DWHULDOVIURPWKH)'$&DUGLRYDVFXODUDQG5HQDO'UXJV$GYLVRU\&RPPLWWHHKHOGRQ6HSWHPEHU DYDLODEOHDW
KWWSZZZIGDJRY$GYLVRU\&RPPLWWHHV&RPPLWWHHV0HHWLQJ0DWHULDOV'UXJV&DUGLRYDVFXODUDQG5HQDO'UXJV$GYLVRU\&RPPLWWHHXFPKWP

0HGLFDO5HFRUGV
$OOPHGLFDOUHFRUGVIRU-RVHSK%RXGUHDX[-U
Case 2:14-md-02592-EEF-MBN Document 5641-8 Filed 03/03/17 Page 24 of 49




                         APPENDIX B
 Case 2:14-md-02592-EEF-MBN Document 5641-8 Filed 03/03/17 Page 25 of 49



                                     CURRICULUM VITAE
CINDY A. LEISSINGER, M.D.                                                  JANUARY 2015




EDUCATION (HONORS):

      1972-1975         B.S., Newcomb College, Tulane University
                        (magna cum laude, Biology honors with thesis)

      1975-1979         M.D., Tulane University School of Medicine
                        (American Medical Women's Association Achievement Citation, 1979)

HONOR SOCIETIES:

      1975 Phi Beta Kappa
      1975 Sigma Xi Research Society
      1978 Alpha Omega Alpha

POST-GRADUATE TRAINING:

      7/1/79-6/30/81 Residency in Internal Medicine, Tulane University

      7/1/81-2/28/83 Research Fellowship in Hematology, Clinical Hematology
                            Branch, National Institute of Arthritis, Diabetes, and
                            Digestive and Kidney Diseases (NIADDK), NIH.

      3/1/83-2/28/84 National Research Service Award, Clinical Hematology Branch, NIADDK, NIH
                             (with N. R. Shulman, MD)

      1/1/88-12/31/90 Fellowship in Hematology and Medical Oncology
                             Tulane University School of Medicine

CERTIFICATION:

      1983 American Board of Internal Medicine
      1990 American Board of Internal Medicine – Hematology
      1991 American Board of Internal Medicine – Oncology
      2004 American Board of Internal Medicine – Hematology, recertified


CLINICAL POSITIONS:

      4/1/84-12/31/87          Private Practice Option, National Health Service Corps:
                               Internal Medicine, St. Martinville, LA

      10/1/86-12/31/87         Vice-President, Medical Staff, Our Lady of Lourdes
                               St. Martin




                                                  1
 Case 2:14-md-02592-EEF-MBN Document 5641-8 Filed 03/03/17 Page 26 of 49



                              CURRICULUM VITAE
CINDY A. LEISSINGER, M.D.                                             JANUARY 2015


ACADEMIC POSITIONS:

     1/1/88-12/31/90    Instructor and Fellow, Section of Hematology-Oncology
                        Tulane University School of Medicine

     1/1/91- 6/30/95    Assistant Professor of Medicine,
                        Tulane University School of Medicine

     1/1/92-12/31/94    Director, Special Hematology Laboratory (CAP approved)

      8/1/92- Present   Director, Louisiana Comprehensive Hemophilia Care Center

      7/1/95- 6/30/03   Associate Professor of Medicine (with tenure),
                        Tulane University School of Medicine

      7/1/95-6/30/03    Adjunct Associate Professor of Pathology,
                        Tulane University School of Medicine

      11/1/02-6/30/03   Clinical Associate Professor of Pediatrics,
                        Tulane University School of Medicine

      7/1/96-6/30/03    Clinical Associate Professor of Medicine,
                        Louisiana State University School of Medicine

      1/1/02- Present   Director, Louisiana Center for Bleeding and Clotting Disorders

      7/1/03-Present    Clinical Professor of Pediatrics and Pathology
                        Tulane University School of Medicine

      7/1/03-Present    Professor of Medicine (with tenure),
                        Tulane University School of Medicine

      9/1/06-6/30/09    Interim Chief, Section of Hematology/Oncology
                        Tulane University School of Medicine

      11/1/08-7/1/10    Interim Medical Director
                        Tulane Cancer Center

      7/1/09-Present    Chief, Section of Hematology/Oncology
                        Tulane University School of Medicine




                                            2
  Case 2:14-md-02592-EEF-MBN Document 5641-8 Filed 03/03/17 Page 27 of 49



                                      CURRICULUM VITAE
CINDY A. LEISSINGER, M.D.                                                   JANUARY 2015


POSTDOCTORAL TRAINEES:

         1994-1996             Scott Tenenbaum, Ph.D., recipient of Judith Graham Pool
                               Post-Doctoral Fellowship: "HIV Resistance in Hemophiliacs".

         2004-2006             Rebecca Kruse-Jarres, M.D., recipient of National Hemophilia
                               Foundation/Baxter Fellowship

         2012-2014             Tammuella Singleton, M.D., recipient of National Hemophilia
                               Foundation/Baxter Fellowship

         2014-2016             Maissaa Janbain, M.D., recipient of National Hemophilia
                               Foundation/Baxter Fellowship

DOCTORAL TRAINEES:

         1997-2003             Sue duTreil, PhD. School of Social Work, Tulane University. "Adherence
                               to medical treatment in a well-characterized hemophilia population"

DOCTORAL DISSERTATION COMMITTEES:

         1994                  Scott Tenenbaum, PhD., Dept of Microbiology and Immunology, Tulane
                               University. "Antigens associated with the human immunodeficiency
virus:                         studies in immunodeficiency and autoimmunity"

         1996                  Douglas Plymale, PhD., Molecular and Cellular Biology Interdisciplinary
                               Program, Tulane University. "Co-induction of apoptotic and necrotic
                               cytopathology"

         1999                  Heather Jaspan, PhD., Molecular and Cellular Biology Interdisciplinary
                               Program, Tulane University. "Molecular approaches to diagnostic and
                               clinical problems in AIDS patients"

        2003                    Sue duTreil, PhD., School of Social Work, Tulane University.
"Adherence                             to medical treatment in a well-characterized hemophilia
population"


MENTORED STUDENT AWARDS:

         2011-2012             ASH Student Award: Walter Liszewski

         2011-2012             ASH Student Award: Brittany Blockman


MEDICAL SOCIETY FELLOWSHIP:

         American College of Physicians




                                                   3
 Case 2:14-md-02592-EEF-MBN Document 5641-8 Filed 03/03/17 Page 28 of 49



                                       CURRICULUM VITAE
CINDY A. LEISSINGER, M.D.                                                       JANUARY 2015




MEDICAL SOCIETY MEMBERSHIP (OFFICES):

       Hemostasis and Thrombosis Research Society (Co-chair, Hemostasis Committee, 2003-2008;
                Board of Directors 2011-2014; Vice-President/President-elect 2014-2018
       American Society of Hematology (Committee on Communications, 2005-2008)
       American Federation for Clinical Research (Councilor, Southern Section, 1993-1996)
       International Society on Thrombosis and Haemostasis
       Southern Society for Clinical Investigation


FEDERAL/EXTRAMURAL GRANTS AND CONTRACTS:

   1 U01 HL72274A Leissinger (PI)                                09/30/02 – 08/31/12 (w/ext)
   NIH/NHLBI
   Transfusion Medicine/Hemostasis (TMH) Clinical Trials Network
   The purpose of the network is to design and implement clinical trials in disorders of hemostasis.
   Funding is designated for infrastructure support at the Tulane site.
   Role: PI


   Baxter Healthcare Leissinger (PI)                                    03/01/04 – 12/31/14 (w/ext.)
   A prospective randomized cross-over study of an activated Prothrombin Complex Concentrate for
   secondary prophylaxis in patients with hemophilia A and inhibitors (The Pro-FEIBA Study).
   An investigator-initiated, multi-institutional, international trial to assess whether an activated PCC can
   prevent bleeds in inhibitor patients. No overlap.
   Role: Overall PI


   CFMS 563052 Leissinger (PI)                                    07/01/92 - Ongoing
   State of LA Dept. Health and Hospitals
   Louisiana Comprehensive Hemophilia Care Center
   The major goal of this funding is to provide ongoing comprehensive diagnostic and evaluation
   services to all Louisiana residents with a genetic coagulation disorder.
   Role: Medical Director and PI


   5U27DD000862 Leissinger (PI)                                    09/30/12 - Ongoing
   ATHN2011-V1
   Universal Data Collection from Patients with Congenital Bleeding Disorders
   The purpose of this project is the longitudinal follow-up, and collection and analysis of data on all
   patients with inherited bleeding disorders.
   Role: PI


   CMFS 558285 Leissinger (PI)                                     09/30/99 - Ongoing
   Maternal and Child Health Bureau
   Comprehensive Hemophilia Care

                                                     4
 Case 2:14-md-02592-EEF-MBN Document 5641-8 Filed 03/03/17 Page 29 of 49



                                      CURRICULUM VITAE
CINDY A. LEISSINGER, M.D.                                                       JANUARY 2015

  The major goal of this project is to provide comprehensive hemophilia services. No overlap.
  Role: Medical Director and PI



  H.I.G.S./RHO, INC. Leissinger (PI)                             07/01/03 – Ongoing
  Baxter BioSicence
  The Hemophilia Inhibitor Genetics Study
  The objective of this study is to determine genetic loci associated with inhibitor risk, and to identify
  other host genetic factors associated with development of inhibitors
  Role: Co-investigator and Institutional PI

  PO 1 HL 081588 Montgomery (PI)                                08/01/05 – Ongoing
  NIH/NHLBI
  Molecular and Clinical Biology of Von Willebrand Disease.
  This study will characterize molecular defects and correlate with clinical manifestations.
  Role: Co-investigator and Institutional PI

  RO 1 HL 112614 Montgomery (PI)                                   08/01/13 - 07/31/18
  Comparative Effectiveness in the diagnosis of VWD
  This project will systematically study the diagnosis of VWD using specialized confirmatory testing of
  VWF, a quantitative bleeding assessment, laboratory phenotypic diagnosis and genetic confirmatory
  testing in order to improve the sensitivity and specificity of VWD diagnosis.
  Role:Co-investigator


  RECENTLY COMPLETED FUNDED PROJECTS:


  U27/CCU61389-05 Leissinger (PI)                                 09/30/99 - 09/29/11
  Centers For Disease Control
  Universal Data Collection from Patients with Congenital Bleeding Disorders
  The purpose of this project is the longitudinal follow-up, and collection and analysis of data on all
  patients with inherited bleeding disorders.
  Role: PI

  1 RO1 1 U01 HL72274A Leissinger (PI)                     09/30/06 – 12/31/10
  NIH/NHLBI
  Rituximab for the treatment of inhibitors in congenital hemophilia A (The RICH Study)
  The purpose of this clinical trial, developed within the TMH network is to evaluate the efficacy and
  safety of rituximab in the treatment of inhibitors in patients who have failed immune tolerance
  induction (ITI).
  Role: Overall PI and IND holder

  HL68429 Ragni (PI)                                    04/01/01 – 03/31/07
  NIH/NHLBI
  Impact of HIV and Hepatitis C on Liver Disease in Hemophilia. (HHH Study)
  This study will assess liver pathology and cytokine profiles associated with liver disease
  progression.
  Role: Co-investigator and Institutional PI



                                                     5
 Case 2:14-md-02592-EEF-MBN Document 5641-8 Filed 03/03/17 Page 30 of 49



                                       CURRICULUM VITAE
CINDY A. LEISSINGER, M.D.                                                        JANUARY 2015

  NIH/NCI/RTI Leissinger (P.I.)                             3/25/96 – 9/1/05
  Prospective cohort study of HIV/AIDS in persons with hemophilia and their sexual partners.
  The major goal of this project is the longitudinal study of the epidemiology and natural history of HIV
  infection, hepatitis C infection and all attendant complications in hemophiliacs and their sexual partners.
  Role: Institutional PI


  NIH/NIAID/ACTG/NHF (Network PI)
  AIDS Clinical Trial Group HIV Study. Major goal of this project is to design and implement clinical
  trials for the treatment of HIV and associated complications in hemophilia patients through a national
  research network of Hemophilia Treatment Centers. 5/15/89 – 5/13/02

  NIH/Tulane AIDS – Associated Malignancy Consortium. (Co-investigator)
  The major goal of this project is to design and implement clinical trials for patients with AIDS
  associated malignancies. 9/30/2000 – 9/29/2005

  NIH/#AI-00-011 HCV Genomic Variability in HIV infected hemophiliacs. (Co-investigator)
  Major goal is to study viral kinetic responses and the role quasispecies emergence.
  4/01/01 – 3/31/05


CURRENT INDUSTRY SPONSORED CLINICAL TRIALS:


      In 2013/2014, institutional PI for numerous industry sponsored clinical trials.



TRAINING GRANTS:


      2004-             National Hemophilia Foundation/Baxter Healthcare, (PI and Director)
                        Designated as Specialty Coagulation Fellowship Training Site
                        Cost: $100,000/year for approved fellow candidate



PREVIOUS GRANTS AND CONTRACTS:

      1983-1984         NIH National Research Service Award: Immune Mechanisms of
                        Thrombocytopenia

      1991-1992         Ladies Leukemia League (Principal Investigator): Platelet Refractoriness in
                        Acute Leukemia (15% effort).


      1991-1992         NIH James Shannon Award (Principal Investigator): R55 HL46670,
                        Retrovirus Induced Immune Platelet Abnormalities (80% effort).


      1992-1996         NIH Research Award (Principal Investigator): R01 HL46670, Retrovirus Induced

                                                      6
 Case 2:14-md-02592-EEF-MBN Document 5641-8 Filed 03/03/17 Page 31 of 49



                                   CURRICULUM VITAE
CINDY A. LEISSINGER, M.D.                                                 JANUARY 2015

                     Immune Platelet Abnormalities (60% effort).


      1993-1999      Centers for Disease Control and Prevention (Principal Investigator): Surveillance
                     for the Complications of Hemophilia. (25% effort)


      1998-2001      NIAID/NHF (Principal Investigator): Hemophilia ACTU


SCIENTIFIC JOURNAL REVIEWER

      Annals of Internal Medicine
      American Journal of Medicine
      American Journal of Hematology
      Blood
      Journal of Thrombosis and Haemostasis
      New England Journal of Medicine
      Pediatric Research
      Haemophilia
      Thrombosis and Haemostasis


CLINICAL RESEARCH GROUP PARTICIPATION:

      1991-Present   Member and PI, Southwest Oncology Group (SWOG)
      1992-Present   Member and PI, National Cancer Institute Multicenter Hemophilia Cohort
                     Study Group
      2000-2004      Member and PI, AIDS Associated Malignancy Consortium
      2002-Present   PI, NHLBI Transfusion Medicine/Hemostasis Clinical Trials Network

ACTIVE NATIONAL/REGIONAL/INSTITUTIONAL COMMITTEES:

      1993-Present   Executive Committee, Southwest Regional Hemophilia Program (MCHB
                     Region VI)
      1992-Present   Legislative Advisory Committee, Louisiana State Hemophilia Program
      1992-2005      Transfusion Committee, Charity Hospital
      1997-2005      Blood Bank Committee, Tulane Medical Center
      2003-2008      Co-chair, Hemostasis Comm, Hemophilia and Thrombosis Research Society
      2005-2008      Committee on Communications, American Society of Hematology
      2011-Present   Board of Directors, Hemophilia and Thrombosis Research Society

OTHER ACTIVITIES/AWARDS:

      2004-2006      Leadership Core Director, Tulane/Xavier Center of Excellence
                     in Women’s Health

      2006-2014      Top Doctors, New Orleans

      2006-2014      Top Doctors, Louisiana



                                                7
  Case 2:14-md-02592-EEF-MBN Document 5641-8 Filed 03/03/17 Page 32 of 49



                                       CURRICULUM VITAE
CINDY A. LEISSINGER, M.D.                                                     JANUARY 2015

        2013            Best Doctors in America

        2014            Inaugural Hope Legacy Award (Hope for Hemophilia Foundation)




                                            BIBLIOGRAPHY

1. Shulman NR, Leissinger CA, Hotchkiss AJ and Kautz CA: The non-specific nature of
platelet-associated IgG. Trans Assoc Am Physicians 995:213, 1982.
2. Alving BM, Tarassoff PG, Moore J, Jr., Leissinger CA and Fernandez-Bueno C: Successful renal
transplantation for Epstein syndrome. Am J Hematol 21:111, 1986.
3. Hotchkiss AJ, Leissinger CA, Smith ME, Jordan JV, Kautz CA and Shulman NR: Evaluation by
quantitative acid elution and radioimmunoassay of multiple classes of immunoglobulins and serum
albumin associated with platelets in idiopathic thrombocytopenic purpura. Blood 67:1126, 1986.
4. Leissinger CA: Severe thrombocytopenia associated with cocaine use. Ann Int Med 112:708,
l990.
5. Leissinger CA and Stuckey WJ: Unbound immunoglobulins are a major source of error in the
quantitation of platelet surface-bound immunoglobulins. Transfusion 32:157, 1992.

6. Leissinger CA and Andes WA: The role of splenectomy in the management of hemophilic patients
with HIV associated immunopathic thrombocytopenia purpura. Am J Hematol 40:207, 1992.

7. Rubkin CS, Hatzakis A, Griffiths PD, Pillay D, Ragni M, Hilgartner MW, Goedert JJ and the National
Cancer Institute Multicenter Hemophilia Cohort Study Group (incl. C. Leissinger): Cytomegalovirus
Infection and risk of AIDS in Human Immunodeficiency Virus-infected hemophilia patients. J Inf Dis
168:1260, 1993.

8. Tenenbaum SA, Leissinger CA and Garry RF: Absence of seroreversion of HIV-1 antibody in
seroreactive individuals (Letter). JAMA 270:2178, 1993.

9. Kroner BL, Rosenberg PS, Aledort LM, Alvord WG, Goedert JJ and the Multicenter Hemophilia Cohort
Study (incl. C. Leissinger): HIV 1 infection incidence among persons with hemophilia in the United
States and Western Europe, 1978-1990. JAIDS 7:279, 1994.

10. Kroner BL, Goedert JJ, Blattner SE, Carrington NM, Mann DL, for the Multicenter Hemophilia Cohort
and Hemophilia Growth and Development Studies (incl. C. Leissinger): Concordance of HLA haplotype
sharing, CD4 decline, and AIDS in hemophilic siblings. AIDS 9:275, 1995.

11. Chiang C-F, Tenenbaum SA, Verret CR, Leissinger CA and Garry RF: The activity of granzyme A, a
serine protease in the killing granules of cytotoxic T-lympocytes, is reduced in cells from HIV-infected
hemophiliacs. AIDS Research and Human Retroviruses 12:235, 1996.

12. Ghany M, Leissinger C, Laiger R, Sanchez-Pescador R and Lok ASF: Effect of Human
Immunodeficiency Virus - type 1 infection on Hepatitis C virus infection in hemophiliacs. Digestive
Diseases and Sciences, 41:1265;1996.

                                                    8
  Case 2:14-md-02592-EEF-MBN Document 5641-8 Filed 03/03/17 Page 33 of 49



                                      CURRICULUM VITAE
CINDY A. LEISSINGER, M.D.                                                    JANUARY 2015


13. Kahn M, Scher C, Rozans M, Leissinger C, Michaels R, and Krause J: Factor V Leiden is not
responsible for stroke in patients with sickling disorders and is uncommon in African Americans with
sickle cell disease. Am J Hematol 54:12-15,1997.

14. Hewitt R, Akers D, Leissinger C, Gill J, and Aster R: Concurrence of anaphylaxis and acute heparin-
induced thrombocytopenia in a patient with heparin-induced antibodies. J. Vascular Surgery 28:561-
565,1998.




                                                    9
  Case 2:14-md-02592-EEF-MBN Document 5641-8 Filed 03/03/17 Page 34 of 49



                                       CURRICULUM VITAE
CINDY A. LEISSINGER, M.D.                                                     JANUARY 2015

                                      BIBLIOGRAPHY (continued)

15. Leissinger CA. Use of prothrombin complex concentrates and activated prothrombin complex
concentrates as prophylactic therapy in hemophilia patients with inhibitors. Haemophilia 5(Suppl
3):25-32, 1999.
16. Nguyen GT, Goedert JJ, Carrington M, Dean M, Aledort LM, Blatt PM, Cohen AF, DiMichele D,
Eyster ME, Kessler C, Konkle B, Leissinger C, Luban N, O’Brien S, and O’Brien T: Phenotypic
expressions of CCR5'32 Homozygosity. JAIDS. 22:75-82, 1999.
17. du Treil, S. , Gillis, H., Lewis, ML., Abdou, A., Wulff, K., Leissinger,CA. A dose of psychosocial
care: Does interferon cause depression in teen users? Hemaware. 5(4) 50-52, 2000.

18. Leissinger C, Becton D, Cornell C, and Gill JC: Stimate (Desmopressin Acetate) Nasal Spray, 1.5
mg/ml, for prevention and treatment of bleeding in patients with mild hemophilia A, mild and moderate
type 1 von Willebrand disease, and symptomatic carriers of hemophilia A. Haemophilia. 7:258-
266,2001.

19. Soucie JM, Richardson L, Evatt B, Linden J, Ewenstein B, Leissinger C, Manco-Johnson M, Sexauer
C, Stein S, and The Hemophilia Surveillance System Project Investigators. Risk factors for infection with
HBV and HCV in a large cohort of hemophilic males. Transfusion. 41:338-343,
2001.
20. Kulkarni R, Aledort L, Berntorp E, Brackman H, Brown D, Cohen A, Ewing N, Gringeri A, Gruppo R,
Hoots K, Leissinger C, Peerlinck K, Poon M-C, Wong W-Y. Therapeutic choices for patients with
hemophilia and high-titer inhibitors. Am J Hematol. 67:240-246, 2001.

21. Leissinger C. Platelet kinetics in ITP and HIV associated thrombocytopenia. Current Opinion in
Hematology. 8:299-305, 2001.

22. Ewenstein B, Joist JH, Shapiro A, Hofstra TC, Leissinger CA, Seremetis S, Broder M, Mueller-Velten
G, and Schwartz BA: Pharmacokinetic analysis of plasma-derived (MONONINE®) and recombinant
(Benefix®) factor IX concentrates in previously treated patients with moderate or
severe hemophilia B. Transfusion. 42:190-197, 2002.
23. Goedert J, Eyster E, Lederman M, Mandalaki T, de Moerloose P, White G, Angiolillo A, Luban N,
Sherman K, Manco-Johnson M, Preiss L, Leissinger C, Kessler C, Cohen A, DiMichele D, Hilgartner M,
Aledort L, Kroner B, Rosenberg P, and Hatzakis A, for the Multicenter Hemophilia Cohort Study. End-
stage liver disease in persons with hemophilia and transfusion-associated
infections. Blood. 100: 1584-1589, 2002.
24. Brown S, Aledort L, and the Round Table Group (incl. C Leissinger). Unresolved issues in
prophylaxis. Haemophilia 8:817-21, 2002.

25. Alonso-Rubiano E, Garber M, Friedman P, Hodges S, and Leissinger C. Hepatitis G virus in clotting
factor concentrates. Haemophilia 9:110-115, 2003.

26. Corrigan J, Damiano M, Wulff K and Leissinger C. D-Penicillamine for the treatment of hemophilic
arthritis. Haemophilia 9: 64-68, 2003.

27. Hoots K, Leissinger C, Stabler S, Schwartz B, White G, Dasani H, Massion C, Negrier C, Schindel F
and Schulman S. Safety and Efficacy of the treatment of Hemophilia B by continuous intravenous
infusion of a plasma derived factor IX concentrate (Mononine). Haemophilia 9:164-172, 2003.


                                                    10
  Case 2:14-md-02592-EEF-MBN Document 5641-8 Filed 03/03/17 Page 35 of 49



                                      CURRICULUM VITAE
CINDY A. LEISSINGER, M.D.                                                     JANUARY 2015



                                     BIBLIOGRAPHY (continued)

28. Leissinger C. Prevention of bleeds in hemophilia patients with inhibitors: Emerging data and clinical
direction. Am J Hematol. 77:187-193, 2004.

29. Qin H, Shire N, Keenan E, Rouster S, Eyster E, Goedert J, Koziel M, and Sherman K, and the
Multicenter Hemophilia Cohort Study Group (incl. C Leissinger). HCV quasispecies evolution:
association with progression to end-stage liver disease in hemophiliacs infected with HCV or HCV/HIV.
Blood, 105:533-541, 2005.

30. Kruse-Jarres R and Leissinger C. Haemobilia after transjugular liver biopsy in a patient with severe
hemophilia. Haemophilia, 11:642-643, 2005.

31. Tenenbaum S, Morris C, Alexander S, McFerrin H, Garry R, and Leissinger C. Evidence of HIV
exposure and transient seroreactivity in archived HIV-negative severe hemophiliac sera. Virology
Journal, 2:65, 2005.

32. Zhang M, Rosenberg P, Brown D, Preiss L, Konkle B, Eyster E and Goedert J for the Second
Multicenter Hemophilia Cohort Study (incl C Leissinger). Correlates of spontaneous clearance of
hepatitis C virus among people with hemophilia. Blood, 107:892-897, 2006.

33. Fonseca V, Theuma P, Mudaliar S, Leissinger C, Clejean S and Henry R. Diabetes treatments have
differential effects on non-traditional cardiovascular risk factors. J Diabetes Complications, 20:14-20,
2006.

34. Leissinger C. Inhibitor development in patients with hemophilia: An overview. Seminars
Hematology, 43(Suppl 4):1-2, 2006.

35. Berntorp E, Gringeri A, Leissinger C, Negrier C, Key N. Current and future approaches to inhibitor
management and aversion – part 2. Seminars in Thrombosis and Haemostasis, 32(Suppl 2):22-27,
2006.

36. Leissinger C. Prophylaxis in hemophilia patients with inhibitors. Haemophilia, 12(Suppl 6):67-73,
2006.

37. Berntorp E, Shapiro A, Astermark J, Blanchette V, Collins P, DiMichele D, Escuriola C, Hay C, Hoots
K, Leissinger C, Negrier C, Oldenburg J, Peerlinck K, Reding M, Hart C. Inhibitor treatment in
haemophilias A and B: summary for the 2006 international consensus conference. Haemophilia 12(Suppl
6):1-7, 2006.

38. DiPaola J, Aledort L, Britton H, Carcao M, Grabowski E, Hutter J, Journeycake J, Kempton C,
Leissinger C. Application of current knowledge to the management of bleeding events during immune
tolerance induction. Haemophilia, 12:591-597, 2006.

39. Teitel J, Berntorp E, Collins P, d’Oiron R, Ewenstein B, Gomperts E, Goudemand J, Gringeri A, Key
N, Leissinger C, Monohan P, Young G. A systematic approach to controlling problem bleeds in patients
with severe congenital haemophilia A and high-titre inhibitors. Haemophilia, 13:256-263, 2007.

40. Leissinger C, Becton D, Ewing N, Valentino L. Prophylactic treatment with activated prothrombin

                                                   11
  Case 2:14-md-02592-EEF-MBN Document 5641-8 Filed 03/03/17 Page 36 of 49



                                       CURRICULUM VITAE
CINDY A. LEISSINGER, M.D.                                                      JANUARY 2015

complex concentrate (FEIBA) reduces the frequency of bleeding episodes in paediatric patients with
hemophilia A and inhibitors. Haemophilia, 13:249-255, 2007.


                                      BIBLIOGRAPHY (continued)

41. DiMichele D, Hoots K, Pipe S, Rivard G, Santagostino E, Hay C, Lambert T, Leissinger C, Lillicrap D,
Oldenburg J, Peerlinck, Petrini P, Recht M, Reding M, Rothschild C. International Workshop on Immune
Tolerance Induction: Consensus Guidelines. Haemophilia, 13(Suppl 1):1-22, 2007.

42. Kruse-Jarres R, Hadi CM, Leissinger C. Inhibitor development and successful immune tolerance in
an HIV infected patient with hemophilia A. Haemophilia, 13:707-711, 2007.

43. duTreil S, Rice J, Leissinger C. Quantifying adherence to treatment and its relationship to quality of
life in a well characterized hemophilia population. Haemophilia, 13:493-501, 2007.

44. Manco-Johnson MJ, Abshire T, Shapiro A, Riske B, Hacker M, Kilcoyne R, Ingeam D, Manco-
Johnson ML, Funk S, Jacobson L, Valentino L, Hoots K, Buchanan G, DiMichele D, Recht M, Brown D,
Leissinger C, Bleak S, Cohen A, Mathew P, Matsunga A, Medeiros D, Nugent D, Thomas G, Thompson
A, Soucie J, Austin H, Evatt B. Preventing joint disease in young children with severe factor VIII
deficiency: results of a prospective, randomized clinical trial. N Engl J Med, 357(6):535-544, 2007.

45. Leissinger C, Blatt P, Hoots K, Ewenstein B. Role of prothrombin complex concentrates in
reversing warfarin anticoagulation: a review. Am J Hematol, 83:137-143, 2007.

46. Hoots WK, Ebbesen LS, Konkle BA, Auerswald GK, Roberts HR, Weatherall J, Ferran JM, Ljung RC;
Novoseven (F7HAEM-1505) Investigators (incl. C Leissinger). Secondary prophylaxis with recombinant
activated factor VII improves health-related quality of life of haemophilia patients with inhibitors.
Haemophilia. 14:466-75, 2008. Erratum in: Haemophilia. 2008 May;14(3):670.

47. Singleton T, Kruse-Jarres R, Leissinger C. Emergency room care for patients with hemophilia and
von Willebrand Disease. J Emergency Medicine 39(2):158-65, 2010. [Epub Aug 30, 2008].

48. Morfini M, Laguna P, Leissinger, C. Factor IX pharmacokinetics: Differences between plasma-
derived and recombinant products and the clinical and economic implications. Haemophilia,14:873-875,
2008.

49. Barnett B, Kruse-Jarres R, Leissinger C. Current management of acquired factor VIII inhibitors.
Current Opinion Hematology, 15:451-5, 2008.

50. Kruse-Jarres R, Barnett B and Leissinger C. Immune tolerance for the eradication of inhibitors in
patients with Hemophilia A, Expert Opinion Biologic Therapy, 8:1885-96, 2008.

51. Metjian AD, Wang C, Sood SL, Cuker A, Peterson SM, Soucie JM, Konkle BA, HTCN Study
Investigators (incl. C Leissinger). Bleeding symptoms and laboratory correlation in patients with severe
von Willebrand Disease. Haemophilia, 15:918-25, 2009.

52. Valentino L, Carcao M, Mathew P, Leissinger C, Berntorp E, Blanchette V, DiMichele D, Escuriola-
Ettinghausen C, Ewenstein B, Ewing N, Gringeri A, Hoots K, Negrier C. The application of bypassing
agent (FEIBA) prophylaxis in hemophilia A patients with inhibitors. Haemophilia, 15:959-965, 2009.


                                                    12
  Case 2:14-md-02592-EEF-MBN Document 5641-8 Filed 03/03/17 Page 37 of 49



                                       CURRICULUM VITAE
CINDY A. LEISSINGER, M.D.                                                      JANUARY 2015


53. duTreil S, Rice J, Leissinger C. Maintenance of treatment logs by hemophilia patients.
Haemophilia, 16:545-7, 2010. [Epub Dec 29, 2009].


                                      BIBLIOGRAPHY (continued)

54. Slichter S, Kaufman R, Assmann S, McCullough J, Triulzi D, Strauss R, Gernsheimer T, Ness P,
Brecher M, Josephson C, Konkle B, Woodson R, Ortel T, Hillyer C, Skerrett D, McCrae K, Sloan S, Uhl L,
George J, Aquino V, Manno C, McFarland J, Hess J, Leissinger C, Granger S. Dose of prophylactic
platelet transfusions and prevention of hemorrhage. N Engl J Med, 362(7):600-613, 2010.

55. Kruse-Jarres R, Fang J, Leissinger C and Ganapamo F. Rituximab therapy modulates IFN-J            and
IL-4 gene expression in a patient with acquired hemophilia A. Brit J Haematol, 148:176-8, 2010.

56. Lok J, Bosch R, Benson C, Collier A, Robbins G, Shafer R, Hughes M for the ALLRT team (C
Leissinger listed). Long term increase in CD4+ T-cell counts during combination antiretroviral therapy
for HIV-1 infection. AIDS, 24(12):1867-1876, 2010. PMID:20467286

57. Flood V, Gill J, Morateck P, Christopherson P, Friedman K, Haberichter S, Branchford B, Hoffmann
B, Abshire T, Di Paola J, Hoots WK, Leissinger C, Lusher J, Ragni M, Shapiro A, and Montgomery R for
the Zimmerman Program for the Molecular and Clinical Biology of VWD. Common VWF exon 28
polymorphisms in African Americans affecting the VWF activity assay by ristocetin cofactor. Blood,
116(2):280-6, 2010. [Epub Mar 15, 2010]. PMID:20467286

58. Ragni MV, Moore CG, Soadwa K, Nalesnik MA, Zajko AB, Cortese-Hassett A, Whiteside TL, Hart S,
Zeevi A, Li J, Shaikh OS; HHH Study Group (C. Leissinger listed). Impact of HIV on liver fibrosis in men
with hepatitis C infection and haemophilia. Haemophilia. Jan;17(1):103-11, 2011. PMID:20722744

59. Soucie JM, Wang C, Siddiqi A, Kulkarni R, Recht M, Konkle BA; Hemophilia Treatment Center
Network (C. Leissinger listed). The longitudinal effect of body adiposity on joint mobility in young males
with Hemophilia A. Haemophilia. Mar;17(2):196-203, 2011. PMID:21332880

60. Teitel J, Berntorp E, Dolan G, Fischer K, Gringeri A, Kessler C, Lambert T, Leissinger C, Nemes L
and Shima M. A consensus statement on clinical trials of bypassing agent prophylaxis in inhibitor
patients. Haemophilia, May;17(3):516-21, 2011. [Epub 2011 Mar3] PMID:21371181

61. Bonnet P, Gringeri A, Gomperts E, Leissinger C, d'Oiron R, Teitel J, Young G, Franklin M, Ewenstein
B, and Berntorp E. Modeling costs and outcomes associated with a treatment algorithm for problem
bleeding episodes in patients with severe hemophilia A and high-titer inhibitors. American Drug and
Health Benefits, July/August;4(4): 2011.

62. Kruse-Jarres R, Fang J, Leissinger C and Ganapamo F. Reduced production of IFN-gamma and LT-
alpha is associated with successful prednisone therapy in patients with acquired hemophilia A. Thromb
Res. Nov;128:86-90, 2011. [Epub 2011 Jul 23] PMID:21899663

63. Leissinger C, Cooper D and Wilke C. Assessing the impact of age, race, ethnicity and inhibitor status
on functional limitations of patients with severe and moderately severe hemophilia A. Haemophilia, Nov;
17(6):884-889, 2011. [Epub 2011 Mar 30] PMID:21447095

64. Leissinger C, Gringeri A, Antmen B, Berntorp B, Biasoli B, Carpenter C, Cortesi P, Jo H, Kavakli K,

                                                    13
  Case 2:14-md-02592-EEF-MBN Document 5641-8 Filed 03/03/17 Page 38 of 49



                                        CURRICULUM VITAE
CINDY A. LEISSINGER, M.D.                                                       JANUARY 2015

Lassila R, Morfini M, Négrier C, Rocino A, Schramm W, Serban M, Uscatescu M, Windyga J, Zülfikar B,
Mantovani L. Anti-inhibitor coagulant complex prophylaxis in hemophilia with inhibitors. N Engl J Med,
Nov;365:1684-92, 2011. PMID:22047559


                                      BIBLIOGRAPHY (continued)

65. Hay CR, DiMichele DM; International Immune Tolerance Study (incl. C Leissinger). The principal
results of the International Immune Tolerance Study: a randomized dose comparison. Blood. Feb
9;119(6):1335-44, 2012. [Epub 2011 Nov 18] PMID:22101900

66. Bellissimo D, Christopherson P, Flood V, Gill J, Friedman K, Haberichter S, Abshire T, Lusher J,
Hoots K, Shapiro A, Leissinger C, Ragni M and Montgomery R. von Willebrand Factor mutations and
new sequence variations identified in healthy controls enrolled in the Zimmerman Program for the
Molecular and Clinical Biology of VWD are more frequent in the African American population. Blood,
Mar;119:2135-40, 2012. [Epub 2011 Dec 23]. PMID:22197721

67. Li C, Narkbunnam N, Samulski RJ, Asokan A, Hu G, Jacobson LJ, Manco-Johnson MJ, Monahan PE;
Joint Outcome Study Investigators (incl. C Leissinger). Neutralizing antibodies against adeno-associated
virus examined prospectively in pediatric patients with hemophilia. Gene Ther. Mar;19(3):288-94, 2012.
[Epub 2011 Jun 23]. PMID:21447095

68. Goldenberg N, Kruse-Jarres R, Frick N, Pipe S, Leissinger C, and Kessler C. Outcomes of mentored
fellowship training in benign Hematology: Findings from a nested case-control survey study of the
National Hemophilia Foundation (NHF)-Baxter Clinical Fellowship Program, 2002-2010. Haemophilia.
May;18:326-31, 2012 [Epub 2011 Sep 7] PMID:21788064

69. Leissinger C. The literature on inhibitors: Articles that influence my management of patients with
hemophilia A and high titer inhibitors. Am J Hematol, May;87:s23-s26. 2012. PMID:22473571

70. Berntorp E, Shapiro AD, Waters J, Astermark J, International Factor IX Treatment Network (incl. C
Leissinger) The international factor IX treatment network survey. Haemophilia May;18(3):e60-2, 2012.
[Epub 2012 Mar 8] PMID:22404549

71. Thornburg C, Carpenter S, Zappa S, Munn J, and Leissinger C. Current prescription of prophylactic
factor infusions and perceived adherence for children and adolescents with haemophilia: a survey of
heamophilia healthcare professionals in the United States. Haemophilia. Jul;18:568-74, 2012. [Epub
2012 Feb 15] PMID:22335526

72. Silva M, Luck J, Leissinger C. Opinions on radiosynovectomy for chronic hemophilic synovitis:
point/counterpoint. Haemophilia. Nov;18:836-42, 2012. [Epub 2012 Jul 5] PMID:22762742

73. Schwarz J, Astermark J, Menius ED, Carrington M, Donfield SM, Gomperts ED, Nelson GW,
Oldenburg J, Pavlova A, Shapiro AD, Winkler CA, Berntorp E; Hemophilia Inhibitor Genetics Study
Combined Cohort (incl C Leissinger). F8 haplotype and inhibitor risk: results from the Hemophilia
Inhibitor Genetics Study (HIGS) Combined Cohort. Haemophilia. Jan;19:113-8, 2013. [Epub 2012 Sep 7]
PMID:22958194

74. Gelhorn H, Merikle E, Krishnan S, Nemes L, Leissinger C, Valentino L. Physician preferences for
medication attributes for the prophylactic treatment of patients with severe hemophilia A with inhibitors to


                                                     14
  Case 2:14-md-02592-EEF-MBN Document 5641-8 Filed 03/03/17 Page 39 of 49



                                       CURRICULUM VITAE
CINDY A. LEISSINGER, M.D.                                                      JANUARY 2015

factor VIII. Haemophilia. Jan;19:119-25, 2013. [Epub 2012 Sep 25] PMID:23005041

75. Astermark J, Donfield S, Gomperts E, Schwarz J, Menius E, Pavlova A, Oldenberg J, Kessing B,
DiMichele D, Shapiro A, Winkler C, Berntorp E, Hemophilia Inhibitor Genetics (HIGS) Combined Cohort
(incl C Leissinger). The polygenic nature of inhibitors in hemophilia A: results from the Hemophilia
Genetics Study Combined Cohort. Blood. Feb; 121:1446-54, 2013. [Epub 2012 Dec 6] PMID:23223434
                                     BIBLIOGRAPHY (continued)


76. Valentino L, Allen G, Gill J, Hurlet A, Konkle B, Leissinger C, Luchtman-Jones L, Powell J, Reding M,
Stine K. Case studies in the management of refractory bleeding in patients with hemophilia A and
inhibitors. Haemophilia. May;19:e151-66, 2013. [Epub 2013 Feb 4] PMID:23374141

77. Flood V, Friedman K, Gill J, Haberichter S, Christopherson P, Branchford B, Hoffman R, Abshire T,
Dunn A, DiPaolo J, Hoots K, Brown D, Leissinger C, Lusher J, Ragni M, Shapiro A, Montgomery R. No
increase in bleeding identified in Type 1 VWD subjects with D1472H sequence. Blood. May;121:3742-4,
2013. [Epub 2013 Mar 21] PMID:23520336

78. Lewis K, Hughes R, Epstein M, Josephson N, Kempton C, Kessler C, Key N, Howard T, Kruse-Jarres
R, Lusher J, Walsh C, Watts R, Ettinger R, Pratt K and the PATH (Personalized Alternative Therapies for
Haemophilia) Study Investigators (incl C Leissinger). Phenotypes of allo- and autoimmune antibody
responses to FVIII characterized by surface plasmon resonance. PLoS One May; 8:e61120, 2013.
PMID:23667433

79. Miller C, Rice A, Boylan B, Shapiro A, Lentz S, Wicklund B, Kelly F, Soucie J; Hemophilia Inhibitor
Research Study Investigators (incl C Leissinger). Comparison of clot-based, chromogenic and
fluorescence assays for measurement of factor VIII inhibitors in the US Hemophilia Inhibitor Research
Study. J Thromb Haemost. Jul;11(7):1300-9, 2013. [Epub 2013 Jul 15] PMID:23601690

80. Gringeri A, Leissinger C, Cortesi P, Jo H, Fusco F, Riva S, Mantovani L, and the ProFEIBA Study
Group. Health related quality of life in patients with haemophilia and inhibitors on prophylaxis with an
anti-inhibitor complex concentrate (AICC): Results from the ProFEIBA Study. Haemophilia.
Sep;19(5):736-43, 2013. [Epub 2013 Jun 4] PMID:23731246

81. Leissinger C and Nugent D. Treatment and management patterns of patients with von Willebrand
Disease in the United States. J Blood Disorders Transf 4(4): 2013. [Epub 2013 Aug 9]

82. Chang T, Albright K, Boehme A, Sartor, EA, Kruse-Jarres R, Leissinger C, Martin-Schild S. Factor
VIII in the setting of acute ischemic stroke among patients with suspected hyercoagulable state. Clin Appl
Thromb Hemost. Mar;20(2):124-8, 2014. [Epub 2013 May 14] PMID:23677913

83. Leissinger C, Carcao M, Gill J, Journeycake J, Singleton T, Valentino L. Desmopressin (DDAVP) in
the management of patients with bleeding disorders. Haemophilia. Mar;20(2):158-67, 2014 [Epub 2013
Aug 12] PMID:23937614

84. Soucie JM, Miller CH, Kelly FM, Payne AB, Creary M, Bockenstedt PL, Kempton CL, Manco-Johnson
MJ, Neff AT; Haemophilia Inhibitor Research Study Investigators (incl C Leissinger). Haemophilia.
Mar;20(2): 230-7, 2014 [Epub 2013 Nov 22] PMID:24261612

85. Leissinger C, Josephson C, Granger S, Konkle B, Kruse-Jarres R, Ragni M, Journeycake J, Neufeld
E, Marder V, Assmann S, for the RICH Study Investigators. Rituximab for the treatment of inhibitors in


                                                    15
  Case 2:14-md-02592-EEF-MBN Document 5641-8 Filed 03/03/17 Page 40 of 49



                                      CURRICULUM VITAE
CINDY A. LEISSINGER, M.D.                                                     JANUARY 2015

hemophilia A: A phase II study. Thromb Haemost. Sep;112(3):445-58, 2014. [Epub 2014 June 12]
PMID:24919980

86. Kruse-Jarres R, Singleton T, Leissinger C. Identification and basic management of bleeding
disorders in adults J Am Board Fam Med. 7/8;27(4):549-64. 2014. PMID:25002009


                                     BIBLIOGRAPHY (continued)

87. Janbain M, Nugent D, Powell J, St-Louis J, Frame V, Leissinger C. Use of Factor XIII (FXIII)
concentrate in patients with congenital factor XIII deficiency undergoing surgical procedures. Transfusion
Jan;55(1):45-50, 2015. [Epub 2014 July 29] PMID:25070582

88. Young G, Teitel J, d'Oiron R, Leissinger C, Berntorp E. Evaluation of algorithms for the treatment of
problem bleeding episodes in hemophilia patients with inhibitors. Clinical Appl Thromb Hemost
Jan;21(1):10-18, 2015. [Epub 2014 Oct 24] PMID:25343956

89. Boylan B, Rice A, Dunn A, Tarantino M, Brettler D, Barrett J, Miller C for Hemophilia Inhibitor
Research Study Investigators (incl C Leissinger). Characterization of the anti-factor VIII immunoglobulin
profile in patients with hemophilia A by use of a fluorescence-based immunoassay. J Thromb Haemost
Jan;13(1):47-53, 2015. [Epub 2014 Dec 11]

90. Gouse B, Boehme A, Monlezun D, Siegler J, George A, Brag K, Albright K, Beasley T, Leissinger C,
El Khoury R, Martin-Schild S. New thrombotic events in ischemic stroke patients with elevated factor VIII.
Thrombosis [Epub 2014 Dec 17] PMID:25580292

91. Tarsia J, Chang TR, Aysenne A, Boehme AK, Sartor EA, Albright KC, Yalvac EA, Kruse-Jarres R,
Leissinger C, Martin-Schild S. Elevated Plasma Factor VIII in Patients with Ischemic Stroke: Does it
have any Association with Hypertensive Heart Disease? J Neurol Disorders & Stroke In press, 2014.

Samai A, Boehme A, Shaban A, Monlezun D, George A, Leissinger C, Schluter L, El Khoury R, Martin-
Schild S. A model for predicting persistent elevation of factor VIII among patients with acute ischemic
stroke (AIS). Submitted

Leissinger C, Singleton T, Kruse-Jarres R. How we use bypassing therapy for prophylaxis in hemophilia
patients with inhibitors. Submitted

Janbain M, Leissinger C, Kruse-Jarres R. Acquired hemophilia A: emerging treatment options.
Submitted




                                                   16
  Case 2:14-md-02592-EEF-MBN Document 5641-8 Filed 03/03/17 Page 41 of 49



                                      CURRICULUM VITAE
CINDY A. LEISSINGER, M.D.                                                    JANUARY 2015




                                      CHAPTERS, EDITORSHIPS


1.Kahn M and Leissinger C. Underproduction anemias. In American Society of Hematology Self
Assessment Program (2nd edition), ASH, 2005.

2. Leissinger C. Guest Editor. Current Opinion on Management of Inhibitor Therapy in Seminars in
Hematology, Vol 43, No 2, Suppl 4, April 2006.

3. Kahn M and Leissinger C. Thrombocytopenia due to deficient platelet production. In K. McCrea (Ed.)
Thrombocytopenias, pp 75-90. Taylor & Francis Group Publishers, 2006.

4. Zumberg M and Leissinger C. Acquired underproduction anemias. In M. Kahn and S. Gregory (Eds.)
American Society of Hematology Self-Assessment Program (3rd edition), pp 78-101. ASH, 2007.

5. Rose M and Leissinger C. Acquired underproduction anemias. In S. Gregory and K. McCrae (Eds.)
American Society of Hematology Self Assessment Program (4th edition), pp 109-132. ASH, 2010.

6. Leissinger C. Deep venous thrombosis. In J. Weise (Ed.) Clinical Decision Support: Hospital
Medicine, Decision Support in Medicine, LLC online, 2013

7. Leissinger C. Venous thrombophilia. In J. Weise (Ed.) Clinical Decision Support: Hospital Medicine,
Decision Support in Medicine, LLC online, 2013

8. Kruse-Jarres R and Leissinger C. Acquired coagulation disorders caused by inhibitors. In C. Kitchens,
C. Kessler and B. Konkle (Eds.) Consultative Hemostasis and Thrombosis (3rd edition), Elsevier
Saunders Publishers, 2013.

9. Leissinger C and Kruse-Jarres R. General surgical management of patients with hemophilia. In C. Lee
and K. Hoots (Eds.) Textbook of Hemophilia, Wiley Blackwell Publishers, 2014.




                                                   17
  Case 2:14-md-02592-EEF-MBN Document 5641-8 Filed 03/03/17 Page 42 of 49



                                       CURRICULUM VITAE
CINDY A. LEISSINGER, M.D.                                                      JANUARY 2015




                                 ABSTRACTS AND PRESENTATIONS*


1. *Shulman NR, Leissinger CA, Hotchkiss AJ and Kautz CA: The non-specific nature of
platelet-associated IgG. Clin Res 30:561a, April, l982. Presented, Association of American Physicians,
Washington, DC, l982.

2. *Shulman NR, Leissinger CA, Hotchkiss AJ and Kautz CA: An in vivo model demonstrating that
elevated platelet associated IgG is a non-specific consequence of platelet destruction. Blood Suppl
60:l9la, l982. Presented, American Society of Hematology, Plenary Session, Washington, DC, l982.

3. Leissinger CA, Hotchkiss AJ, Kautz CA and Shulman NR: Elevated platelet-associated IgG in SLE is
not associated with increased platelet turnover. Blood Suppl 60:l88a, l982.

4. Hotchkiss AJ, Leissinger CA, Kautz CA and Shulman NR: IgG and IgA are present in equal amounts
in normal platelets, IgM in lesser amounts, and all three Ig classes are elevated in destructive
thrombocytopenias. Blood Suppl 60:l86a, l982.

5. *Shulman NR, Leissinger CA, Hotchkiss AJ and Kautz CA: Platelet debris containing non-specifically
adsorbed IgG and other membrane markers is an index of platelet destruction. Circulation 66:II-297,
l982. Presented, American Heart Association, Dallas, TX, l982.

6. Smith ME, Hotchkiss AJ, Leissinger CA, Jordan JV, Kautz CA and Shulman NR: A sensitive
immunoprecipitin assay for measuring specific antibodies that cause isoimmune neonatal
thrombocytopenia and post-transfusion purpura. Blood Suppl 62:248a, l983.

7. Leissinger C, Boulware D, Malter J, Avent J and Stuckey WJ: Increased IgG binding to platelets
exposed to IgG anticardiolipin antibody is not increased further with platelet stimulation. Blood Suppl
72:267a, l988.

8. Leissinger C, Boulware D and Stuckey WJ: In vivo binding of anti-phospholipid antibodies to platelets
occurs in SLE without causing thrombocytopenia. Blood Suppl 74:382a, 1989.

9. *Leissinger CA, Andes WA and Stuckey WJ: Platelet-associated immunoglobulin levels in HIV
infection. Clin Res 38:lla, l990. Presented, American Federation for Clinical Research, Southern Section,
New Orleans, LA, l990.

10. *Leissinger CA, Andes WA and Stuckey WJ: In vivo binding of anti-phospholipid antibodies to
platelets in HIV infection. Clin Res 38:lla, l990. Presented, American Federation for Clinical Research,
Southern Section, New Orleans, LA, l990.



                                                    18
  Case 2:14-md-02592-EEF-MBN Document 5641-8 Filed 03/03/17 Page 43 of 49



                                       CURRICULUM VITAE
CINDY A. LEISSINGER, M.D.                                                     JANUARY 2015

11. Leissinger C and Stuckey WJ: Identifying the source of platelet-associated immunoglobulin levels.
Blood suppl 76:386a, 1990.

12. *Leissinger C: Anti-actin antibodies in patients with cocaine associated thrombocytopenia. Blood
suppl. Presented, American Society of Hematology, 1992.

13. Leissinger C, Shoaf F: Elevation of CD4 lymphocytes following splenectomy for HIV-
relatedimmunopathic thrombocytopenic purpura. Clin Res 40:861a, 1992.

14. *Leissinger C: Cocaine associated thrombocytopenia. Clin Res 40:818a, 1992.
Presented,American Federation for Clinical Research, Southern Section, New Orleans, LA, 1993.
                          ABSTRACTS AND PRESENTATIONS*(continued)


15. *Tenenbaum SA, Garry RF, Luo-Zhang H, Alexander SS and Leissinger CA: Virological and
serological Studies in HIV-Exposed/HIV-Seronegative Hemophiliacs. Presented, IXth International
Conference on AIDS, Berlin, Germany, 1993.
16. *Agrawal KC, Rider BJ, Leissinger CA, and Gogu SR: Zidovudine (AZT)-induced anemia related to
down regulation of transcripts of erythropoietin receptor, E protein kinase C and C-fos. Blood
Supply 82:413a, 1993. Presented, American Society of Hematology, St. Louis, MO, 1993.
17. *Leissinger C: Antibodies to platelet membrane glycoprotein IIbIIIa are found in normal control sera
and immunoglobulin preparations made from pooled normal controls. Blood suppl 82:269a, 1993.
Presented, American Society of Hematology, St. Louis, MO, 1993.

18. *Tenenbaum SA, Garry RF, Luo-Zhang H, Alexander SS, and Leissinger CA: Humoral and cellular
responses against HIV in multitransfused HIV seronegative hemophiliacs. Presented, First National
Conference on Human Retroviruses, Washington, DC, 1994. (Editorial in Science 263:27), 1994.

19. *Ghany MG, Leissinger C, Laiger R, Sanchez-Pescador R, and Lok ASF: Interaction between HCV
infection and HIV infection in a hemophilia population. Presented, American Association for the Study of
Liver Diseases, Chicago, IL., 1994.

20. *Chiang C-F, Tenenbaum SA, Verret CR, Leissinger, CA, and Garry RF: Basal Granzyme A acitivity
as an indicator of HIV disease progression. Accepted for presentation, Second National Conference on
Human Retroviruses, Washington, D.C., 1994. (Press release requested)

21. *Leissinger C, Haislip A, Tenenbaum S, Sander G, and Garry RF: Changes in HIV-1 proviral DNA
levels and lymphocyte populations in HIV infected patients after splenectomy. Blood suppl 86:
931a,1995.

22. *Tenenbaum S, Chiang C-F, Garry RF, and Leissinger C: Immunologic Aspects of HIV-1 resistance
and HIV-1 control in hemophiliacs.
Blood suppl. 86: 935a, 1995

23. *Souci M, Evatt B, Leissinger C, Forsberg A, and Linden J: Bleeding frequency and treatment of
people with hemophilia in the U.S. Presented, World Federation of Hemophilia, Dublin, Ireland, 1996.

24. *Gill J, Leissinger C, Kasper C, Sexauer C, Inwood M, Cohen A, and other HRS Inhibitor Registry
Investigators: Hemophilia inhibitors in the 80s and 90s: a first look at the Hemophilia Research Society
(HRS) Inhibitor Registry. Blood Suppl. 88:330a,1996.

                                                    19
  Case 2:14-md-02592-EEF-MBN Document 5641-8 Filed 03/03/17 Page 44 of 49



                                        CURRICULUM VITAE
CINDY A. LEISSINGER, M.D.                                                       JANUARY 2015


25. *Homans A, deAlarcon P, Cornell C, Deitcher S, Leissinger C, Tarantino M and Valdez L: Evaluation
of Stimate (Desmopressin Acetate) nasal spray, 1.5mg/ml prior to an acute surgical or dental procedure.
Blood Suppl.1 90:1066, 1997.

26. *Kurczynski E, Leissinger C, and Bergman GE: Continuous infusion of monoclonal antibody purified
factor IX in hemophilia B surgical, trauma or severe spontaneous hemorrhage patients. Presented,
International Society on Thrombosis and Hemostasis, Florence Italy, 1997

27. *Abdou A, Wulff K, Leissinger CA. HCV infection and infectivity rate among Louisiana persons with
hemophilia. Presented, National Hemophilia Foundation Meeting, Orlando, October, 1998.


                           ABSTRACTS AND PRESENTATIONS*(continued)


28. *DiMichele D, Goldberg I, Kroner B, Abshire T, Hanna W, Hoots K, Hutter J, Iyer R, Leissinger C:
Results of the first Multicenter Prospective Trial of Immune tolerance Therapy (IT) in Hemophilia A.
Presented, ISTH Meeting Washington, D.C., 1999.

29. *Friday K, and Leissinger C: Estrogen replacement therapy reduces plasminogen activator inhibitor
type 1 (PAI-1) levels in postmenopausal diabetic women. Presented, American Heart Association
National Meeting, 1999

30. *Huszti, HC, du Treil, S, Gage, BE, Holland, C., Leissinger, C, & Sexauer, CL. Psychosocial
complications of individuals with clotting disorders inLouisiana and Oklahoma. Abstract and Poster
Presentation at the National Hemophilia Foundations 50th Annual Conference. 1998.

31. *du Treil, S., Lewis, ML., Horman, E., Wulff, K., & Leissinger, CA.. Psychosocial research of
depressive indicators in hemophilia patients with hepatitis C on interferon therapy: Project Design.
Abstract and Poster Presentation at the National Hemophilia Foundations 51st Annual
Conference. 1999.

32. *du Treil, S. , Gillis, H., Lewis, ML., Abdou, A., Wulff, K., Leissinger, CA. Adherence Issues in
Chronic Illnesses: The First Year of the Hemophilia Psychosocial Treatment Intervention Project.
Abstract and Poster Presentation at the NHF 51st Annual Conference.1999.

33. *du Treil, S.,Gillis, H., Lewis, ML., Horman, E., Wulff, K., & Leissinger, CA.. Psychosocial research of
depressive indicators in hemophilia patients with hepatitis C on interferon therapy: Final Results.
Abstract and Poster Presentation at the NHF 52st Annual Conference. 2000.

34. *du Treil, S. , Gillis, H., Lewis, ML., Abdou, A., Wulff, K., Leissinger, CA. Adherence Issues in
Chronic Illnesses: Final Results of the Hemophilia Psychosocial Treatment Intervention Project. Abstract
and Poster Presentation at the National Hemophilia Foundations 52st Annual Conference.
2000.

35. *Abdou A, Wulff K, Tangen D, Leissinger C. Joint outcomes in Louisiana persons with hemophilia.
National Hemophilia Foundation. Hemaware 6:4, 2001. Presented National Hemophilia Foundation
Meeting, Nashville, TN, November, 2001.

36. *Leissinger C, Wulff K, Abdou A. Inhibitor prevalance and association with morbidity in severe

                                                     20
  Case 2:14-md-02592-EEF-MBN Document 5641-8 Filed 03/03/17 Page 45 of 49



                                        CURRICULUM VITAE
CINDY A. LEISSINGER, M.D.                                                       JANUARY 2015

Hemophilia A patients. Blood 98:535a, 2001. Presented, American Society of Hematology Meeting
Orlando, FL, December 2001.

37. *DuTreil S, Lewis M, Abdou A, Wulff K and C Leissinger. Medical Adherence: Significant positive and
negative medical elements. Haemophilia 8:564, 2002. Presented, XXV International Congress of the
World Federation of Hemophilia, Seville, Spain, June, 2002.

38. * Kreuz W, Leissinger C, Oldenburg J, Lusher J, Gorina E, Kellermann E, Larson P and the
International RFVIII-FS Study Group. Inhibitor development and factor VIII gene mutation analysis in a
pediatric cohort treated with sucrose formulated full-length recombinant factor VIII. Presented, National
Hemophilia Foundation Meeting, Orlando, FL, November 2002.



                           ABSTRACTS AND PRESENTATIONS*(continued)


39. *Leissinger C, Nuss R, Wulff K, Giambartolomei S, Raith C Urbanicik W and G Spotts. Pilot
introduction of a needleless transfer device (BAXJECT) for reconstitution of Factor VIII concentrates for
infusion. Hemaware 8:2, 2003. Presented, ISTH, Birmingham UK, July, 2003.

40. *Kruse-Jarres R, Wulff K and Leissinger C. Inhibitors in African-Americans with severe hemophilia A.
Blood 102:799a, 2003. Presented, American Society of Hematology Meeting, San Diego, CA, December,
2003.

41. *Theuma P, Panunti B, Japa S, Leissinger C, Craig K, Fonseca V. The effect of daily sildenafil
administration on biochemical markers of inflammation. Presented, American Diabetes Association,
January, 2005.

42. *Leissinger C, Becton D, Ewing N, Valentino L. Prophylaxis with Factor Eight Inhibitor Bypassing
Activity, Vapor Heated (FEIBA VH) decreases bleeding frequency and maintains or improves joint status.
Presented, International Society on Thrombosis and Haemostasis, Sydney, Australia, August, 2005.

43. *DiPaola J, Gill J, Bernstein J, Leissinger C, Valentino L, Friedman C, Knaub S. Pharmacokinetics
and dose linearity of von Willebrand Factor/Factor VIII concentrate (Humate P) in elective surgery in von
Willebrand Disease patients. Blood 106:1792, 2005. Presented, American Society of Hematology
Meeting, Atlanta, GA, 2005.

44. *Gill J, DiPaola J, Bernstein J, Leissinger C, Valentino L, Freidman C, Knaub S. von Willebrand
Factor/Factor VIII Concentrate (Humate P) for surgical prophylaxis of excessive bleeding in patients with
von Willebrand Disease. Blood 106:1791, 2005. Presented American Society of Hematology Meeting,
Atlanta, GA, 2005.

45. *duTreil S, Rice J, Leissinger C. Scoring adherence in hemophilia care and comparing it to Quality of
Life (QoL). Blood 106:2260, 2005. Presented, American Society of Hematology Meeting, Atlanta, GA,
2005.

46. *Manco-Johnson M, Abshire T, Brown D, Buchanan G, Cohen A, DiMichele D, Hoots K, Leissinger C,
McRedmond K, Nugent D, Shapiro A, Thomas G, Valentino L, Riske B. Initial results of a randomized,
prospective trial of prophylaxis to prevent joint disease in young children with Factor VIII deficiency. Oral
presentation, Plenary Session, American Society of Hematology, Atlanta, GA 2005) Blood 106:3, 2005.

                                                     21
  Case 2:14-md-02592-EEF-MBN Document 5641-8 Filed 03/03/17 Page 46 of 49



                                       CURRICULUM VITAE
CINDY A. LEISSINGER, M.D.                                                      JANUARY 2015


47. *duTreil S, Leissinger C. Factors associated with maintenance of home treatment logs in a
hemophilia population. Presented, World Federation of Hemophilia, Vancouver, Canada, 2006.

48. *Kruse-Jarres R, Leissinger C. Development and successful immune tolerance of an inhibitor in a
person with congenital hemophilia A after immune-reconstitution with HAART. - Presented, World
Federation of Hemophilia, Vancouver 2006.

49. *Gill JC, Leissinger CA, Di Paola J, Bernstein J, Ragni MV, Shopnick R, Valentino LA, Knaub S,
Friedman C von Willebrand factor/factor VIII concentrate effectively prevents excessive bleeding in
patients with very low VWF:RCo plasma levels. ISTH Congress 2007, Geneva, Poster P-S-224.




                           ABSTRACTS AND PRESENTATIONS*(continued)

50. *Bernstein J, Gill JC, Leissinger CA, Di Paola J, Ragni MV, Shopnick R, Valentino LA, Friedman C,
Knaub S. Safety and efficacy of von Willebrand factor/factor VIII concentrate for prophylaxis during
elective surgery in subjects with von Willebrand disease. ISTH Congress 2007, Geneva, Poster P-T-176.

51. *Kruse-Jarres R, Leissinger C. DDAVP Versus vWF-containing Factor Concentrate in a Patient with
Acquired von Willebrand Syndrome (AVWS) Associated with Essential Thrombocythemia (ET). ISTH
Congress 2007, Geneva, Poster

52. *Kruse-Jarres R, Pajewski N, Leissinger C. The role of race and ethnicity in the clinical outcomes of
severe hemophlia A patients with inhibitors. ISTH Congress 2007, Geneva, Poster P-M-136.

53. *Bellissimo D, Christopherson P, Haberichter S, Flood V, Gill J, Friedman K, Abshire T, DiPaolo J,
Hoots K, Leissinger C, Lusher J, Ragni M, Shapiro A, Montgomery R. Novel VWF sequence variations
identified in normal controls and index cases enrolled in the TS Zimmerman program for the molecular
and clinical biology of VWD (ZPMCB-VWD) (Oral presentation, American Society of Hematology Annual
Meeting, Atlanta, 2007) Blood, 110:709, 2007.

54. *Flood V, Kautza B, Miller C, Branchford B, Gill J, Haberichter S, Morateck P, Christopherson P,
Perry C, Friedman K, Bellissimo D, Abshire T, DiPaolo J, Hoots K, Leissinger C, Lusher J, Ragni M,
Shapiro A, Lillicrap D, Goodeve A, Peake I, Montgomery R. Common VWF haplotypes in normal African-
Americans and Caucasians recruited into the ZPMCB-VWD and their impact on VWF laboratory testing.
(Oral presentation, American Society of Hematology Annual Meeting, Atlanta, 2007) Blood, 110:714,
2007.

55. *Haberichter S, Christopherson P, Perry C, Lee A, Morateck P, Bellissimo D, Gill J, Abshire T,
DiPaolo J, Hoots K, Leissinger C, Lusher J, Ragni M, Shapiro A, Montgomery R. The prevalence of
reduced VEF survival phenotype (Type 1C VWD) in type 1 index cases recruited into the TS Zimmerman
Program for the molecular and clinical biology of VWD. (Poster presentation, American Society of
Hematology Annual Meeting, Atlanta, 2007) Blood, 110:2133, 2007.

56. *Kruse-Jarres R, Pajewski N, Leissinger C. The role of race and ethnicity in the clinical outcomes of
severe hemophilia A patients with inhibitors. (Poster presentation, American Society of Hematology
Annual Meeting, Atlanta, 2007) Blood, 110:1163, 2007.



                                                    22
  Case 2:14-md-02592-EEF-MBN Document 5641-8 Filed 03/03/17 Page 47 of 49



                                        CURRICULUM VITAE
CINDY A. LEISSINGER, M.D.                                                       JANUARY 2015

57. *Leissinger C, Cooper D, Wilke C. Assessing the impact of age and inhibitor status on functional
limitations of patients with severe and moderately severe hemophilia A. (Poster Presentation, American
Society of Hematology, San Francisco, 2008) Blood, 112:3395, 2008.

58. *Leissinger C and Nugent D. Von Willebrand Disease treatment patterns in the United States. ISTH
Congress 2009, Boston, Poster MO-625.

59. *Gringeri A, Gomperts E, Leissinger C, D'oiron R, Teitel J, Young G, Ewenstein B, Bonnet P, and
Berntorp E. Modeling costs and outcomes of guidelines adherence in the treatment of problem bleeds in
patients with severe hemophilia A and high-titer inhibitors. ISTH Congress 2009, Boston, Poster WE-
597.

60. *Kruse-Jarres R, Leissinger C, Cooper D, and DiMichele D. Rituximab Registry for Rituximab Registry
for Patients with Congenital Hemophilia A and B and Inhibitors. Presented at HTRS, Chicago 4/10.



                           ABSTRACTS AND PRESENTATIONS*(continued)


61. *Leissinger C, Negrier C, Berntorp E, Windyga J, Serban M, Antmen B, Lassila R, Kavakli K, Zulfikar
B, and Gringeri A. A prospective, randomized, cross-over study of an activated prothrombin complex
concentrate for secondary prophylaxis in patients with hemophilia A and inhibitors (Pro-FEIBA): Subject
demographics and safety data. WFH International Congress, Poster, Buenos Aires, July, 2010.

62. Sheen MA, Lang-Mims G, Leissinger CA, Kruse-Jarres R, Barnhill M, Blaya M. (2010). Re-
establishing oncologic care after a major disaster. J Clin Oncol, 28, (suppl; abstr e16541)

63. *Leissinger C, Berntorp E, Biasioli C, Carpenter C, Jo H, Kavakli K, Négrier C, Rocino A, Windyga J,
Zülfikar B, and Gringeri A. Prophylactic Dosing of Anti-Inhibitor Coagulant Complex (FEIBA) Reduces
Bleeding Frequency in Hemophilia A Patients with Inhibitors: Results of the Pro-FEIBA Study. (Oral
presentation, American Society of Hematology, Orlando, 2010) Blood, 116:720, 2010.

64. *Gringeri A, Leissinger C, Cortesi P, Mantovani L on behalf of the ProFeiba Study Group. Bleeding
prophylaxis with an anti-inhibitor coagulant complex (AICC) in patients with hemophilia A and inhibitors
can improve quality of life: Results of the ProFeiba Study. ISTH, Kyoto, Japan, 2011. Poster

65. *Goldenberg N, Kruse-Jarres R, Frick N, Pipe S, Leissinger C, and Kessler C. Findings from a nested
case-control survey study of teh National Hemophilia Foundation (NHF)-Baxter Clinical Fellowship
Program, 2002-2010. ISTH, Kyoto, Japan, 2011. Poster

66. *Jo H, Gringeri A and Leissinger C. Evaluating the cross-over effect on health-related quality of life in
a randomized cross-over study of hemophilia A patients. International Society for Pharmacoeconomics
and Outcomes Research Annual Congress, Presented 2011.

67. *Leissinger C, Kruse-Jarres R, Granger S, Konkle B, Ragni M, Journeycake J, Neufeld E, Josephson
C, Bennett C, Valentino L, Key N, Raffini L, Torres, M, Gill J, Assmann S. Phase II Trial of rituximab in the
treatment of inhibitors in congenital hemophilia A: Results of the RICH Study. (Oral Presentation,
American Society of Hematology, San Diego, 2011) Blood, 118:27, 2011.

68. *Gringeri A, Leissinger C, Cortesi P, Jo H, Mantovani L. Cost-effectiveness of prophylaxis with anti-

                                                     23
  Case 2:14-md-02592-EEF-MBN Document 5641-8 Filed 03/03/17 Page 48 of 49



                                       CURRICULUM VITAE
CINDY A. LEISSINGER, M.D.                                                     JANUARY 2015

inhibitor complex concentrate in patients with hemophilia A and inhibitors: Results from the ProFEIBA
Study. (Poster Presentation, American Society of Hematology, San Diego, 2011) Blood, 118:4187, 2011.

69. *Leissinger C, Gringeri A, Valentino L, Cortesi P for the Pro-FEIBA Study Invstigators. Joint disease
and the potential for imporved joint health in inhibitor patients who have a good response to aPCC
prophylaxis: data from the ProFEIBA Study. (poster presentation, American Society of Hematology,
Atlanta, 2012) Blood, 2012.

70. *Janbain M, Leissinger C. Excess FXIII consumption during cardiopulmonary bypass surgery. Oral
presentation. Southern Society for Clinical Research, New Orleans, 2013.

71. *Liszewski W, Safah H, Leissinger C. Investigating hemostasis in patients with newly diagnosed
hematologic malignancies using a thromboelastography protocol. Oral presentation. Southern Society for
Clinical Research, New Orleans, 2013.

72. Janbain M, Leissinger C, Kruse-Jarres R. Analysis of hemostatic characteristics using
thromboelastometry in adults with sickle cell disease and controls. American Society of Hematology,
2013.

                          ABSTRACTS AND PRESENTATIONS*(continued)


73. *Montgomery R, Christopherson P, Bellissimo D, Gill J, Haberichter S, Flood V, Lillicrap D, Goodeve
A, Friedman K, Abshire T, Shapiro A, Ragni M, Lentz S, Leissinger C, Dunn A, Lusher J, Brown D. The
complete type 1 VWD cohort of the Zimmerman Program for the molecular and clinicl biology of VWD -
phenotypic assignment, mutation frequency, and bleeding assessment. Oral presentation. American
Society of Hematology, 2013.

74. Samai A, Boehme AK, Shaban A, George A, Monlezun D, Dowell L, Leissinger C, Schluter L, El
Khoury R, Martin-Schild S. A Model for Predicting Persistent Elevation of Factor VIII Among Patients with
Acute Ischemic Stroke (AIS). Poster presentation International Stroke Conference 2015, Nashville, TN

75. Samai A, Boehme AK, Monlezun D, George A, Dowell L, Leissinger C, Schluter L, El Khoury R,
Martin-Schild S. How High Is Too High? An Analysis of the Upper Threshold for Serum FVIII in Ischemic
Stroke. Poster presentation International Stroke Conference 2015, Nashville, TN

76. Samai A, Boehme AK, George A, Monlezun D, Dowell L, Leissinger C, Schluter L, El Khoury R,
Martin-Schild S. Von Willebrand Factor Elevation Threshold for Poor Clinical Outcomes in Patients with
Ischemic Stroke. Poster presentation International Stroke Conference 2015, Nashville, TN.




                                     INVITED CME PUBLICATIONS


CME Program Faculty (incl. C Leissinger): Treatment of hemophilia patients with inhibitors: Proceedings
of a Concensus Panel, 2001.

Leissinger C. Review of recent literature on the use of prothrombin complex concentrates for

                                                    24
  Case 2:14-md-02592-EEF-MBN Document 5641-8 Filed 03/03/17 Page 49 of 49



                                        CURRICULUM VITAE
CINDY A. LEISSINGER, M.D.                                                       JANUARY 2015

prophylaxis in hemophilia patients with inhibitors. Pragmaton Office of Medical Education: Reprints and
Reviews Series, 2002.

Leissinger C. Current considerations in Factor VIII therapy: efficacy, inhibitor formation, viral safety and
cost. Dannemiller Educational Foundation, 2003.

Aledort L, Hoots K, Leissinger C, Lillicrap D, Monohan P and Valentino L. Case studies in the
management of high-titer Factor VIII inhibitors: A lifetime of challenge. Pragmaton Office of Medical
Information, 2004.

Leissinger C, Becton D, Ewing N and Valentino L. Therapeutic strategies to prevent joint damage in
patients with inhibitors to Factor VIII. Medlogix Communications, 2005.




                                                     25
